Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 1 of 65 Pageid#: 1

                                                                                        Page 1 of65


                              IJNITED STA TES DISTRIC T C O UR T
                         FOR THE W ESTERN DISTRICT OF W RGINIA
                                         Lynchburg D ivision
     JANEPOE                      Plaintiff                           CivilActionNo::'
                                                                                     .IQ Cqboobh
     V.                                                               JURY TR IA L D EM A N DED
     LIBERTY UN IV ER SITY ,IN C.
     alzd,
 M ELV IN PRIDE,
                                                                          cbEM'sOFFICEU.S.DISQCOUkg
                                                                               AT LYNCHBURQ VA
 both individually and in hisofficialcapacity asLiberty                              FILED
     UniversityCounselorEducationand Supervision (CES)                          MAY 15 2015
 faculty and DirectorofClinicalTraining forthe CES
 program ,and,                                                                JU    c. D EY CLERK
 LISA SO SIN ,
                                                                             sv,   FDEPUTY RK
 both individually and in herofficialcapacity asLiberty
 U niversity CES faculty and Dean ofthe CES departm ent,
 and,
 M A RY D EA CON ,
 '


 both individually and in her ofticialcapacity as Liberty
 University CES faculty,mem berofCES leadership,and
 CA CREP liaison,and
 ELIA S M O ITINH O,
 Both hidividually and in hisofficialcapacity asLiberty
 U niversity faculty and asD epartm entChair,and
     SH IELD M IN ISTRIES,and,
 D A VID TRU LU CK :
 both personally and ln hisofficialcapacity asExecutive
 D irectorof Shield M inistries and asM inisteratShield
 M inistries,and,
     M ELO DIE TRU LU CK ,
     both personal,l
                   y and in her oflicialcapacity asa Shield
     M inistriesboard m em ber,treastlrer,and as Program
     Coordinator
                                                        D efendants




                                                                      CO M PLA IN T
                                                                      Doev.Liberty University eta1.
    Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 2 of 65 Pageid#: 2




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      Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 3 of 65 Pageid#: 3

                                                                                         Page 3 of65


       issueswith m ultiple officesatLiberty with no resolution. S'lmm er2018 ProvostHicksstated
    ê thatsafety issueswereto be dealtw ith by theTitleIX office,which took around ten daysto even
'

       emailback,discrediting theideathattheTitleIX office could dealwith em ergency crisis
       situations such asthe one Jane had tried to report.

       Janein supportthereofrespectfully allegesthebelow :

       PA RTIES
          1. PlaintiffJalze D oe isa naturalperson w ho resides in South Carolina. Throughoutthe
       colzrse ofeventsdescribed herein,Janewasa studentatLiberty University and/orappealing the
      University'sarbitrary and capriciousdecision to expelher.Shewasdismissed in Spring2017
       from thedoctoralprogram despiteastellaracademicrecord.Janekeptm eticulousbusiness
       recordsofal1commtmicationsand hereby certifiestheauthenticity ofsuch recordsdiricluded as

       Exhibitsattachedhereto,ptlrsuanttoVirginiaCodesjj8.01-390.3and8.01-4.3.
          2.:DefendantLibertyUniversity(hereinafterGçtaiberty''l,isapdvate,Christian,li,
                                                                                       bertyarts,
      research llniversity w ith aprincipaladdressof 1971'
                                                         U niversity Boulevard,Lynchblzrg,Virginia
       24515. LIBERTY isthe largestnonprotitllniversity in theUnited States,and the largest
       lmiversity ofanykind in theComm onwealth ofVirgirlia.Atal1timesm aterialhereto,
       LIBERTY acted by andthrough itsagents,employees,and representatives,atleastsome ofwho
      were acting in thecourseand scope oftheiremploym entand/orintheprom otion ofLIBERTY'S
      business,m ission and/oraffairs.
          3. DefendantsM elvin Pride,Lisa Sosin,M ary Deacon and EliasM oitinho are natural
      personswho areresidentsand domiciliadesofthe Com monwea1th ofVirginia.Though
                                       N
       defendantsPRIDE,M OITIN H O ,SO SIN M d ,D EA CON w ere allacting in theirofdcial

       capacitiesassalaried,full-time,non-adjunctfacultymembersofDefendantLiberty,attimes
       m aterialherein one orm ore ofthem also acted in m nnnersthatfelloutsidethe scope oftheir
       employm entdutieswhile continuingttiactin concez'tw ith otherLiberty facul'
                                                                                 ty in orderto effect
       Jane's dism issalf'
                         rom the Liberty CES progrnm .

                                                                      CO M PLAW T
                                                                      Doev.Liberty Univçrsity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 4 of 65 Pageid#: 4

                                                                                     Page 4 of65


   4. DefendantSllieldM inistriesisanon-protk corporation in South Carolina.
   5. DefendantsDavid and M elodieTruluck are naturalpersonswho areresidentsand
dorniciliariesofthe StateofSouth Carolina.Each wasem ployed in offcialcapacitiesas
em ployeesorcontractors atShield M inistries. Though defendants TRU LU CK and TRU LU CK
w ere a11acting in theirofficialcapacities as salaried em ployeesand/orcontractors ofShield
M inistries,attim esm atedalherein oneormore ofthem also acted in m nnnersthatfelloutside
thescopeoftheiractivitiesasemployeesorcontractorsofShield M irlistdes,wllileactingiri
concertwith Liberty faculty to effectJane'sdismissalfrom the Liberty CESprogrnm .

JURISDIC TION A ND V ENU E
   6. Fordiversity purposes,Janeisacitizen ofthe siateofSouth Carolinaand Liberty
Defendantsarecitizensoforabusinesswith itsprincipleofficein theComm onwea1th of
V irginia.

   7. Thiscourthasoriginaldiversityoverthisclaim pursuantto28U.S.C j 1332becausethe
m atterin controversy exceedsthesum orvalueof$75,000 and isbetween citizensofdifferent
states.

   8. ThiscourtalsohasoriginaljurisdictionunderTitleIX oftheEducationActAmendments
of1972,20U.S.C j1681,etseq.and28USC j1331,andjurisdictionoverrelated state
common1aw andstatutoryclaimsundertheprinciplesofancillaryand/orpendentjlzrisdidion
pursuantto28U.S.S.j1367.
   9. VenueisproperintheW esternDistrictofVirginiaplzrsuantto 12U.S.C.j 1391(b)(2)
andCodeofVirginiaj8.01-262(1)becauseasubstantialpartoftheeventsoromissionsgiving
riseto Plaintiff'sclaim occurred in theComm onwealth ofVirginiaand becausedefendant
Liberty'sprincipaloffice and/orresidenceandprincipalplaceofemploym entare in Virgirtia.

N A TUR E O F TH E A CTIO N
    10.Thiscasearisesoutofoutrageousactionstaken by DEFENDANTS LIBERTY,PRIDE,
SO SW ,D EA CON and M OITm H O concerning false and tm supported allegations ofm isconduct


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                                                                 Doev.LibertyUrliversity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 5 of 65 Pageid#: 5

                                                                                    Page5 of65


m adeagainstJane,a femalestudentatLIBERTY,involving severalfaculty mem bersin
collusion.
   11.Janewasadoctoralstudentin LIBERTY'SCotmselorEducation and Supelwision'
        .




program (CES)throughSpring2017.
   12.In thattim e,Jane com plçted allcoursework forthe degree,including practiclzm ,save for
theinternship and the dissertation. Shehad around a3.8 gradepointaverage and had an A in
previouspractictlm courses. She presented ata counseling related conference in Fall2015 as

well,wherelicensedpractitionersreceivedContinuingxEducationUnits(CEU's)forattending
herpresentations. She obtained a provisionallicense,as a Licensed ProfessionalCotm selor

Associate(LPCA)in SouthCarolinainJanuary2017.TheseaccomplishmentsdpcllmentJane's
lligh levelofacadem ic proficiency,com petence and expertise.
   13.No LIBERTY stafforfaculty voiced any concernsto JaneregardingJane'sconductin
hercapacity asadoctoralintem ship studentuntilDecember2015,even though Janehad
completed threemonthso
                     'fintem ship priorto Decem ber2015 and six m onthsofpracticllm

experience.

BA CK G R O U ND :TH E V ULN EM BILITY O F TH E SU PER W SO R -SUPE RW SEE
R ELA TION SH IP

   14.Janewouldliketoattempttoexplainhow andwhytheSupervisor- Supervisee(e.g.,the
onebeingsupervised)relationshipisintenselydifferentthanthenormalsttzdent-professor
relationship.
    15.W hilethestudent-professorrelationship istypically,underthelaw,notafiduciary
relationship,supervisor-superviseerelationshipsarequitedifferentfrom thenormalsttldent-
professorrelationship. Forexam ple,in the clinicalliteram re,Ellis,eta1.state: çdr
                                                                                 l'he
supea isee isin an inextricably vulnerable relationship an evaluative,hierarchical




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                                                                Doev.Liberty University eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 6 of 65 Pageid#: 6

                                                                                      Page 6 of65


relationship where the supervisorholds the supervisee's professionalcareerin his orher
hands''zgemphasesJane'sj
   16.FiduciaryDutyofPhysician:See,e.g.,Lockettv.Goodill,430P.2d589,591(W ash.
1967)(lç-l-herelationshipofpatientandphysicianisafiduciaryoneofthehighestdegree.It
involveseveryelementoftnzst,confidenceandgoodfaith.');Hoopesv.Hammargren,725P.2d
238,242(Nev.1986)(:G...webelievethefiduciaryrelationsllipandthepositionoftnlstoccupied
byal1physiciansdemandsthatthestandardapplytoa11physicians.'');M oorev.Regentsof
UniversityofCalifornia,793P.2d479,483(Cal.1990)(G$...insolicitingthepatient'sconsent,a
physicianhasafiduciarydutytodisclosea1linformationmaterialtothepatient'
                                                                      sdecision.');
Tracyv.M errellDow Phnrmaceuticals,Inc.,569N.E.2d875,879(01zi01991)(tG-l-hephysician-
patientrelationship isafiduciary onebased on trustand confidenceand obligatingthephysician

toexercisegoodfaith.');Brandtv.M edicalDefenseAssociates,8565.W .2d667,670(M o.
1993);Nehmev.SmithklineBeechnm ClinicalLaboratories,Inc.,863So.2d 201,206-2074171a.
2003)(1ç...wedorecognizethefiduciary,consdentialrelationshipofphysician-patientimposing
onthephysicianadutytodisclose''known factsandknowncauses.);MtlrfreesboroM edical
Clinic,P.A.v.Udom,166S.W .3d 674,683tTenn.2005)(çG...weseenopracticaldifference
betweenthepracticeof1aw andthepracticeofmedicine.....TheserelationshipsareGtconsensuat,
highly fiduciary and peculiarly dependenton thepatient'
                                                      s orclient'stnzstand confidence in the

physicianconsultedorattorneyretained.''Kar1in,77N.J.408,390A.2d 1161,1171LIN.J.1978)j
(Smith,J.,dissentingl.');Hanisonv.Valentini,184S.W .3d521,525(Ky.2005)(çThefiduciary
relationship between thepartiesgrantsapatienttherighttorely on thephysician'slcnowledge
                                                                   .



andsldll'')3
   17.DefendantSosinandLibertycolleagueThomas(17.459)state:çTrom alegalstandpoint,
                                                        .



because tnzstisplaced in the cotm selorto serve a cotm selee's bestinterests,the l'
                                                                                  egalsystem

2Ellis,M .V.,Berger,L.,Hanus,A.E.,Ayala,E.E.,Swords,B.A.,& Siembor,M .(2014).
Inadequate and hnrm f'ulclinicalsupelwision:Testing a revised frnm ew ork and assessing
occurrence.TheCounselingPsychologist,42644,434-472.)

                                                                 COM PLA W T
                                                                 D oe v.Liberty University eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 7 of 65 Pageid#: 7

                                                                                     Page 7 of65


regardscounseling asacontract...thecotmseling relationship isviewed asaGtfiduciary''
relationship,becausethepowerisentrusted forthebenefitofthecounselee.''- sedous

statementsindeed.(Sosin& Thomas,Therapeuticexpedition:equippingtheCllristiancotmselor
fortheJourney).
    18.Iflegally there/isaûûfiduciary''relationship between cotmselorand counselee,as
D efendantSosin states,there m ustbe a sim ilar relationship between the supervisor and
supervise'
         e due to the em otionally vulnerable pow er differentialbe- een supervisor and
supervisee. ln thisrelationship a11aspectsofthe superviseeare cdtiqued,including counseling
skillsand interpersonalrelationships.Ethicscodeshave standardsthatm ustbem etaswell.
    19.An im portantpartofthis ççfiduciary''relationship isrecognizing traum a when itocctlrs,
andrecogrlizing how difficultitcan beforthosein thethroesoftraum a to even verbalize

whathashappened,letalonem itingitout.DefendantSosin,inherdoctoralthesis(p.32),
alludesto thedifficultiesin facilitatingverbalexpression,when an individualhasundergone
traum aticexperiences. Shestates,Gç-f'hecreative-expressivetherapiesincludeart,drnm a,and
                                  /

physicalchallenge.Thesecan facilitate emotionaland verbalexpression...''. Laterin thesam e
paragraph,she statesthatthesetEgivepatientsatmiqueand differentwaysofçthaving avoiceand

m    ng a S     ...
    20.Further,DefendantSosin and Liberty colleagueRockinson-szapkiw describethe
destructive effectsofbullying,asfollows: ççResearch isbeginning to em ergewllich
dem onstratesthatbullying isapotentialrisk factorforthedevelopmentofposttrallmatic stress
disorder(PTSD)symptomsnmongadolescents''.4
    21..W hile Sosin doesnotdescribebullying in a supervisor-superviseerelationship in similar
term s,logically,she w ould agree thatbullying in a supervisor-supervisee relationship causes
greathnrm .

4Lisa S.Sosin and Am andaJ.Roclcinson-szapldw.''CreativeExpostlrelntervention asPM of
ClinicalTreatm entforAdolescentsExposed toBullying and Experiencing Posttrallm atic Stress
DisorderSymptoms''Journalofcreativity inMentalHealth(2016).Availableat:
hlp://works.bepress.coe lisa sosii z4/
                             -



                                                                 CO M PLA IN T
                                                                 D oe v.Liberty U lziversity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 8 of 65 Pageid#: 8

                                                                                   Page 8 of65


   22.PleasenotethatJaneisnotallegingthatalltm comfortable experieneesin supervision m'e
hnrmfulsupervision,butinstead,thatonce certain criteriaarem et,supervision can behnrmflil.
JanebelievesthatDefendantsSosin,Pride and Deacon would also agreeon this.

   23.Ellis,Berger,et.a1,state:G1W edefmedharmfulsupervisionassupervisorypracticesthat
resultin psychological,erhotional,and/orphysicalhnnn ortraumato the supervisee.'' They
continuewith:Gç-f'
                 heeffectsofhnrmflllsupervision incidentsorexperiencesincludesym ptom sof
psychologicaltratuna .conspicuouslossofself-confidence,functionalimpairmentinthe
supervisee'sprofessionalorpersonallife,and asignificantdecline in the supelwisee'sgeneral

mentalorphysicalhealth.Theeffects...maypersistformonthstoyears''(p.8).
   24.Elliseta1,on page2., rightfully caution:tt-l-here are m any reasonsthatbad orhannf'ul
clirlicalsupelwision isan im portanttopicfordiscotlrse,nottheleastofwllich ispotentialhnrm to
clientsand supervisees ....Thus,thesupervisee isatrisk ofharm should a supervisoractin
unethicalor haçm fulw ays.''and continue,on page 7,w ith:GIHnI'm fITIsupervision should be
distinguished from those instanceswhereasuperviseestruggledwith painfulissuesin
                                                   1

supervision,orwhen a supervisorgavepainfllltohear,em otionallyupsettingfeedback aboutthe
supervisee'sprofessionalincompetence...ortoprotectclientorpublicwelfare ... W e are
attem ptingto differentiatebetween thesupervisor'sactionsthatwererespectfulofthesuperviseç'
sboundaries...from thoseinstanceswherethesupervisee'sbestinterestsw erenotprim ary.''
   25.Yetdespitetheoreticalrecognition thattrallm acan includean individual'sinability to
discuss- orwrite- aboutwhathappened,Jane'shalting attemptsatdiscussing tratzma were
taken asa çllack ofem otionalregulation'',asshewasalso criticized,particularly overhow she
described,in previousem ails,herrelationship with DefendantPride- who Janeregarded as
som eone who had been notified,severaltim es,ofan abusive situation,and yethad done nothing,
brealdng al1trust.

   26.Asthesedocumentswillshow,DefendantLiberty gaveJanenoplaceto:1.)reportan
abusivesituationatadoctoralintem ship site.2.)InsteadofhelpingJanein overcomingthe
abuse,DefendantLiberty instead m any tim esminim izèd anddisregardedtheabuse,atonepoint

                                                                D oe v.Liberty U niversity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 9 of 65 Pageid#: 9

                                                                                     Page9 of65


even callingitCGtmcom fortable'',when,based onpreviousem ailssentto Libertyby Jane,the
relationship wentfarbeyond tçuncom fortable''.DefendantsSosin,Deacon and Pridehaveexpert
knowledgeand thusmustbeheld to ahigherstandard than even an ordinary counselor,asthey
arefaculty supervisorsin aDoctoralprogram . Thus,thisgrossnegligence,which occurred as
late atNovember2018,m ustbeaddressed.

CA SE SU M M ARY
   27.On oraround Septem ber1,2015,aftersuccessfully completingpractictlm ,Janebegan an
intenzship with aplnnned end dateofDecem ber18,2015.
   28.In summary,Janereported multiplesittzationswith abusivesupervisorsathersite.
Liberty did'notrespond,eken thotlgh mandatedreporterswerenotifiedm ultipletimes.Tllis
exposedherto fartherabuseatherinternship site,increasinghertrallm aasshewasleftin an
intem sltip sittlation which shenotised Liberty wasunsafe. Finally,dueto Liberty'sinaction,
Jane had to involuntarily quitthe site to getaw ay from an unsafe situation in order to

preserve her physicaland m entalhealth asw ellas her professionalcom petency.
   29.Liberty University refused toinvestigate,sending herfrom officeto offce tmtilshe
nnived back atthe snm e office thathad already nothelped. Jane attem pted to subm ita Title IX
reportto defendantLiberty in m ultipletim esstarting in 2016.Janewashampered by Liberty

Urliversity'sgaudulentattempttoclaim lackofjurisdiction,with Libertyclaimingin internal
m emosdiscoveredviaFERPA in 2019 thattheinternship sitewasnotafsliatedwith Liberty.
   30.Attemptsto submitaTitleIX investigation in the sllm merof2016 resulted in retaliation.
Forinstance,em ailbetWeen Sosin andtheDirectorofTitleIX,obtainedthrough aFERPA
requestin February 2019,documenttheDirectorofTitleIX notifying Sosin thatJanehad
attemptedto subm ita TitleIX case.TheDirectorofTitleIX adm itted in the emailthatshe did
notunderstand whatJane w asalleging. It appears obvious thatifa Title LX officialdoes not
understand the allegations,he or she should ask questions prior to dism issing a com plaint.




                                                                 COVPLAINT
                                                                 Doe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 10 of 65 Pageid#: 10

                                                                                     Page10 of65


    31.Libertythen choseto expelJanebased on theword ofan individualwho Jane'sexternal
 supervisorhadpreviously descdbed asllerratic''and who had aseriouscdm inalllistory. Jane
 wasnoteven allowedto presenthercasebeforetheexpulsion occurred.
    32.DefendantSosin choseto stateto Janein an emailthatshe shouldnotbotherappealirig,
 asadecision had already been made. Tlziswasoneofmany occttrrencesthatshow thatthe
                                                h
 reasonsJane w asexpelled w ere in factpretexm al.
    33.Janeattempted to fileaTitleIX complaintagain in theSum m erof2018 and in Febm ary
 2019.The2018 appealwashinderedby Liberty'sf'
                                            raudulentrefusalto have an hw estigator
 speakto herin person,atlagrantviolation ofLiberty'spoliciesand procedlzres.

    34.IntheSummerof2018,eventhoughTitleIX hadclaimedalackofjutisdiction
 previously when Jane had disclosed safety issues,Janew astold by ProvostHicks thatsafety
 issues should be directed to Title IX . Title IX took take over a w eek to return an em ail,

 thusshowingthattheTitleIX doesnotappearto be equipped to dealwith a crisissituationssuch
 asJaneexperienced in December2015 thzough February 2016.
    35.TitleIX prem aturely closed the caseon orarotmd July2013,2018,telling Janethatshe
 could re-submitatany tim e.AfterJanewastm ableto respond quiclcly to theirrequests,it
 appearsthatLiberty again closed the case,withoutdoctlm ent.ingthere-openingand second
 closureofthe casein internaldocllm entsreceived underFERPA inFebrtzary 2019.
    36.The2019 em ailto theTitleIX office'wasnotanswered by DefendantLiberty atany point
                                                                                 .



 between late Febnlary and April2019.
    37.Itappearsfrom doctlmented evidencethatmàndatedreportersdidnotsend reportsof
 eventsthatoccurred in January and February 2016 tmtilSum mer2018,when DefendantSosin
 em ailed theTitleIX office.
    38.Som e allegations againstJane,asw ellas som e discrim inatory,negligentand fraudulent
 ad ions,w ere noteven know n by the Jane tm tilshe filed a FER PA requestin 2019,




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                                                                 D oe v.Liberty University eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 11 of 65 Pageid#: 11

                                                                                    Page11 of65


    39.The extrem etratlmathatJaneenduredasa partofLiberty'snegligenttreatmentofthis
 m atter,aswellasLiberty'sdiscrimination againstJaneforhaving adisabled child,were

 extremelyinjlzrioustoJaneandherfamily.
    40.ln sllm m ary,Jane's expedencé w as constantly m inim ized by Liberty faculty,who had
 been notified multipletim esthatJanefeltunsafe completing herinitialintem ship andin
 retam ing to internship underthedirection ofthoseatLiberty whohad previously actedtowards
 herin anegligentand discrim inatory matter.M ultipleexampleswillbecitedthroughoutthis
 documentand continuing through to discovery.

 SU M M ARY O F PRET EX T U AI,FA CTO RS
    41.Janeidentitiesthe following 24 specitk irregularitiesthatshebelievesdem onstrate
 gender,and/orassociationaldiscriml ation aswellasretaliation formnking aTitleIX reportin
 Sllmm er2016. Thisisbutapartiallisting ofthemany factorsthatshow thattheseactivitiesby
 DefendantLiberty werepretextualin nature and notbased on Jane'sperform'apce or

 com petency.
                Janewasnotgiven key evidence,oreven a complete listofallegationsagainst
                her,in orderto prepare her grade appeal;
                Evidencewasused by DefendantLiberty on gradeappealsthatdid noteven exist
                untila day ortwo beforetheappealwasdenied,fivem onthsafterthe expulsion
                w a's ordered;

                Thatthissnm eevidencewascreatedby Dr.Deacon in retaliation againstJane,as
                evidencedbyherCounseling checldist,written arolm d fivem onthsafterthe grade
                          '
                                                                      r    .
                w as given,and m uch lowerthan previously given by Jane's externalsupervisor
                on eitheroftwo occasions;
           d. Liberty claim ed to high leveladm inistrators,such as Jen'
                                                                       y Falw ell,thatthe case
                had been adequately investigated,when in actuality,itappearsno investigative
                reportwaseverbeen.
                                 written by any individualthathad anybackground or


                                                                 COM PLM N T
                                                                 D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 12 of 65 Pageid#: 12

                                                                                 Page12 of65


             training in investigations. lfan investigativereportwasprepared beyond
             Liberty'sflawed sum mation ofthecase,asshown below,Janehasneverreceived
             a copy,even in the docum ents she received from FER PA ;
          e. Thatthedoclzm entsreferencedbelow,titled GtLU IndividualsInvolved with
             M attersRelatedto M s.        '',and released viaFERPA,includem ultiplepieces
             of llevidence''thatisnotsubstantiatedby variousrecords,isplainly contradicted
             bytheexisting records,and/oriscited asevidencewithoutany statem entson why
             orhow theitem isin factevidence;

             '
             FhatLiberty,rejectedherappeal,havingalreadyseenpreviousinformation,
             including f'
                        rom Title IX ,thatbiased them agaihstherandprom ptedthem to actin
             adiscrim inatory and retaliatory m anner;
                                                             -x
                                                               .                  o
          g. ThatDr.Deacon did notgradepapersfrom Fall2016 priorto giving Janeafailing
             g'
              radein Febnlary 2017,impeding Jane'sability to meetcotzrse standr ds;
         h. ThatDr.Deacon did notgradeorgive any feedback on videotapes,depriving Jane
             oftheopportunity to im proveand show thatshehad m etcourse standards;
             ThatJanewasrequired to subm itvideotapesin herinternship when sheknew of
             no oneelsewho had to subm itasinglevideotape,letaloneatotalofsix to
             com plete the course; Ftlrtherm ore,she w asrequired to subm itthese videotapesto
             individuals who had already actively m irlim ized herprevious expedences,and
             thusshowed extrem ebias.
             ThatçGevidence''included in Liberty'sGGcasesumm ary''7received through the
             FERPA requestwasherdaughter'sillness,adisability,asshown below.
          k. ThatLiberty choseto statein'agrade appealthateven ifJanehad been ableto
             continueto attend in the course,she w ould nothave achieved com petency,despite
             Jane's extem alsupervisorhaving atlested otherw ise.
             ThatdefendantLiberty choseto statein a gradeappealthateven ifJanehadbeen
             ableto continuein thecolzrse,shewouldnothave achieved competency,despite
                                                               COM PLA INT
                                                               Doev.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 13 of 65 Pageid#: 13

                                                                               Page 13 of65


             knowingthatJanefrom Jane'sm ultiplereportsthatshefelttmsaferettlrningto
             internship,and stated thattheabusesuffered attheintem ship site had decreas'
                                                                                        ed

             her sense ofprofessionalcom petency.
          m .ThatLiberty in an unsigned docllment,f'
                                                   rom ût eadership''oftheCES progrnm ,
             em ailed to herbytheadministrativeassistantofthe CES Departm ent,Bonnie

             Gold,onDecember5,2016(butwithattachmentdatedintem allyDecember6,
             2016)thatmadevarioustmtruestatements,includingthatJanehadnoappeals
             left;
             ThatJanenotified StudentAdvocacy,Erin Bass,thatshehad withdrawn her
             generalcom plaint,recom m ended to her by Dr.W arren,dueto defendant
             Liberty'sthreatto expelherfrom theCES dep> m ent,in an unsigned docllment
             from leadership oftheCES program , ifshem adeany m orecom plaintsshe
             w ould be expelled,clearly retaliation.
             ThatJaneattem ptedto notify Liberty,through Dr.Sosin,oftheerrorsinthe
             unsigned docllm entfrom leadership,such asthatshehad notcompleted the grade
             appealprocess,butwastold only to continueto continue worlcing on internship.
             ThatDefendantSosintoldanofficialgovernmentinvestigatortLatallstandards
             hadbeen metatthegovernmentaffiliated site,even though sheknew thatJalie
             had submitted lilany standardsthathad notbeen metatthesite.
          q. ThatLiberty knew thatJane'sfnm ily wasexperiencing catastrophicandtraum atic
             experiences,yetstillchoseto tellJaneshecouldnotwithdraw from thecourse,
                       N
             thussetting her up for failure;

          r. ThatLibertyknew thatJanehadjustfoundoutherchildhadbeensexually
             assaulted,yetstillchosetotellàane,witlzindaysaftelwards,inadocumentfrom
             theLeadersitip oftheCES program ,thatshewashaving diffictlltiesin Giem otional
             regulation''


                                                             CO M PLA IN T
                                                             D oe v.Liberty U niversity eta1.
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    Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 14 of 65 Pageid#: 14

                                                                                      Page 14 of65


                 ThatLiberty,including DefendantSosin,had seen alistofstandardsthatthe
                 governm ent-affiliated sitehad notm et,yetdid notask Janéforany

'
                 inform ation to substantiateherallegations. Thus,defendantLiberty

                 knowinglyrejectedJane'sappealswithouthavingdoneduediligenceby
                 gathering necessaryintbrmation.
                 No known docum ents,including in documentsobtainedthrough FERPA,show
                 any sol'tofexplanation ofhow thepurported evidencewasprocessed in asrelated
                 to allegationsatboth internship sites.

                 ThatJane,afterworldngforLibertyasAdjunctFacultyforsixyears,teaching
                 tlnreeterm sa year,suddenly received no m orecpurseassignm entsfrop
                 DefendantLiberty,in closeproxim ity tothetime Janefiled herflrstofficial
                 Departm entappealin Spring 2016,an exampleofdisctim ination.
              v. DefendantLiberty stated in a docllment,GûRepeatedly contacted SAO to discuss
                 eventsincluding çtAbuse''suffered atinternship and difficultiesw1111daughter.
                 Thisstatementisevidence ofdiscrim ination acainstJanebv defendantLibertvs
                 sinceJaneisbeingdiscriminated againstduetoherfamilialassociation with her
                 child.
              w. DefendantLiberty stated in a document,çill.
                                                           epeatedly contacted SAO to discuss
                 eventsincluding lçAbuse''suffered atinternship and difficultieswith daughter.
                 Thisstatem entisevidence ofdiscrim ination acainstJanebv defendantLibertv.
                 since Jane'sallegationsofbeing.avictim ofa cdm eweredescdbed asttAbuse''
                 withoutalw investication. Otherdocllm ents,including onefrom Dr.Sosin,even
                 use the term alleged çtabuse''5again w ithoutany investigation.




                                                                    CO M PLA m T
                                                                    D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 15 of 65 Pageid#: 15

                                                                                   Page 15 of65


 LIBERTY'SDISCRIM INATORY SUM M ARY,TITLED GLU INJXVIDUALS
 IN VO LV ED W ITH M ATTER S RE LATED TO M S.JA NE D O E ''

    42.A documenttitled IGLU lndividualsInvolved with M attersRelated toM s.JaneDoe'',was
 tm covered via FERPA in Febnzary 2019. Itis im portantto note thatJane wJ5'notprovided this

 listofallegationsatany timebefore2019,evenwhen appealingDefendantLiberty's
 decisions.Janehasincluded Liberty'sassertions,along with in-linedocum entation explaining
 and/ordisputing the Gtfacts''asdescribed by Liberty. Jane'sappealprocesswasgreatly
 im peded by nothaving thisinform ation from Liberty during the appeals process.
                                                                       '
                                                ,


    43.Brittney W ardlaw - DirectorofTitlelX ,LU
    44.RussellM onroe- SeniorAssociatebirectorofLuo/GraduateCommllnityLife,LU
    45.Dr.M ark M eyers- AssociateDean ofCotmselorEducation,LU
    $6*Dr*Kevin Strubel-ChairyGraduateSchool,LU
    47.D r.Steve W arren - Interim D ean,Schoolof BehavioralSciences,LU
    48.GeneBrown - LUPD Officer
    49.Dr.M ary D eacon - D irectorofCounseling Program s,BehavioralSciences,Faculty
 Supervisor,LU

    50.Dr.XXXXXXX - labelled by Libet'ty asIntem ship SiteSupervisor,however,shewas
 theexternalsupervisoream aiorèrrorin adoctlm entthatpresllm ably wassentto everyone
 looking atJane'sappeals.
    51.Dr.M elvin Pride- DirectorofClirticalTraining,BehavioralSciences,LU
    52.Dr.Lisa Sosin - DirectorofPhD in CotmselorEducation and Supervision Progrnm,LU
    53.Efin Bass- StudentAdvocate,LU '
    54.D r.Jeffery Boatner- A ssociate Dean,BehavioralSciences,LU
    55.Dr.EliasM oitinho- Depm mentChair,BehavioralSciences,LU
    56.Please note,Jane's site Supervisor,w asnotlisted here by Liberty. The decision was
 llnilaterallv m adebv Libertvto revokèthe intem ship siteewithoutspealcin:to theSite

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                                                                Doe v.Liberty University eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 16 of 65 Pageid#: 16

                                                                                       Page 16 of65


 SupervisorOR followinc the Libertv University-W in4LifeAffliation aareem ent.ltappersDr.
 Deacon asstlm edthatJane'sexternalsupervisorwasJane'ssitesupervisor. Thus,Dr.Deacon
 dida1lherG&tnvestigation''byspenkingonlytoJane'sexternalsupelwisorandnottoJane'ssite
 Supervisor. Jane w as on a business trip atthe tim e and w asgoing to answ er D r.D eacon's
 em ailsw hen possible. Jane knew thatD r.D eacon had noteven spokbn to her site
 supervisor,thusmakingthereasonableassumption thatiheinvestigationwouldn'tend
 untilafterJane had spoken to hçr supervisor. W hen Jane's externalsupervisorw astm stlre or
 didnothavean answerto aquestion,itappearsDr.Deacon assum ed Janehad been unethical
 when in actually shewasspeaking to thewronz individual. Additionally,thepositiye
 com m entsofJane'ssite supervisor,orofJane'sexternalsuperyisor,arenoteven
 m entioned in the FER PA files received from Liberty U niversity as far a! Jane can tell.
 Jane w asbarred from subm ittinz criticalinform ation to D r.D eacon prior to her decision.


 LIBERTY 'S O UTM G EO U S SSSU M M AR Y O F A CA D EM IC EV EN TS LEA DIN G TO
 M S.JAN E D O E 's DISM ISSA L''
    57.Pleasenotethisdocllment,oàtainedthroughFERPA,wasundated,thusleadingto
 difficultiesin understand when DefendantLiberty claimed certain actionshad occurred.
    58.Liberty alleges:Janebroughtforward allegation ofabuseoccuning atanon-t,u
 affiliated intem ship site in Fall2015. Janeasserts: thissitewasaffiliated with Liberty
 according to theaffiliation agreem entsignedbetween the siteand Liberty in Febnzl y 2015.
    59.Libérty alleges:Is
                        'sueaddressesby TitleIX and Office ofCom mtm ity Life, dqterm ined

 outofjudsdliction,recommendedrecotlrsethroughtheprogram andoutsideresoumek.Outcome
 provided to Jane via em ail.
            x. Jane asserts:A sshown by the follow ing covered EducationalProzram s have
               iurisdiction within TitleIX asTitleIX coversaIIeducationalactivities.Thus.
               thisfinding wasin eriorandisone ofm any piecesofevidenceto supportall
               alleaation ofpretextin the contextofTitle IX related discrim ination.


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                                                                 D oe v.Liberty U niversity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 17 of 65 Pageid#: 17

                                                                                     Page 17 of65



               Seethefollowing from theDepartm entofJusticeat

               hlps://-      .iustice.Mov/cY title-ix EemphasesbyJaneq:
                     tGln conducting such factualinquiries,itisimportanttoremem berthat
                     determinationsastowhatconstitutesa covered educationprogram mustbe
                     madeasbroadly aspossible.

               ii. çil/'f/,crecèientdoeshaveeducationasitsprimarypurpose,suchascolleges,
                     universities,schooldistricts,training institutes,and academies,then the

                     federalfundsresultininstitution-widecoverage.''
               iii. 'fsexualharassmentmaybeprohibitedevenwhen itdoesnotocclzronthe
                     progrnm provider'spremises,aslong astheoff-premisesactivityduring
                     which thesexualharassmenttakesplacerelatesto thecovered educational
                     program.Crandell,D.O.v.N ew York College ofOsteopathicM ed.,87 F.
                 '
                     Supp.2d304(S.D.N.Y.2000)(off-cnmpusmisconductactionabletmderTitle
                     IX whereharassm entoccurred in clinicdudng thesm dent'spaid

                     internship)....itiswellestablishedthatthecoverededucationprogram or
                     activityencompassesall'oftheeducationalinstitution'soperationsincluding,
                     butnotlimitedto,''traditionaleducationaloperations,faculty andstudent
                     housing,campusshuttlebusservice,campusrestaurants,the bookstore,and
                     othercommercialactivities....''
    60.Liberty alleges'
                      .Jane wanted to add a new intenzship site and w as inform ed atthe
                                                  'N
 beginning ofNovem berboth the SiteApprovalform andtheaffiliation Agreementwererequired
 priorto seeing clients.
            a. JaneAsserts:Liberty em ailsherewere asourceofconfllsion becausethe site
               Jane attem pted to add.the localdrtzc and aldoholcenter.w asalreadv a Libertv
               affiliated site. D r.D eacon passed Jane's em ailsto D r.Pride before she had a11the
               details. Forinstance,she did notknow the site nnm e orthatithad allalready-
               existentagreementwith Liberty University.
                                                                  COM PLA INT
                                                                  D oe v.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 18 of 65 Pageid#: 18

                                                                                    Page 18 of65


           b. In an illperson,recordedm eeting between Jane and the Liberty facultyon or
               around M arch 27;2017,Dr.Deacon aclcnowledged thatshehad assllmed Janehad
               decided thatsinceitwasgoing to taketoo longto gettheprevioussite approved
               Janehad decided to do an end-rtm arolmd therequirem entsthrough this
               partnership. ItappearsDr.Deacon assumed thattheprocesswouldnotbe quick
               becauseshewasnotaware oftheexistenceofthe signed affiliation agreem ent
               between Liberty andtheprevioussite,theCotmty drug alld alcoholfacility and
                       .                         '>

               thusthoughtJane w astalcing a shortcut
    61.Liberty alleges:Jane communicated thathercurrentsiteW inzœ ifeasked herto provide
 cotmseling servicesto clientsaffiliatedwith adifferentsite,Shield M inistries.
           a. Jane asserts:A tno pointin N ovem ber orD ecem ber 2016 did D r.Pride or
               Janestatethatthiswasa differentsite. EmailtoDr.PrideofLateNovem ber
               2015 m adeitclearthatJanebelieved ShieldM inistriestobethe snme siteas
               W in4Life,assherem ained lmderthesupervision ofW in4taife.
           b. At2otimewasShieldM inistriesrepresented byJaneasadifferentsiteas
               defendantLiberty suggests.Atnotime did Janereportto any personnelatSllield
               M inistriesk
               Jane did cbmm lmicatewith David Tnzluck ofShieldM inistrieswhen necessm'y,
               butonly when therew assianedreleaseofinform ation between theclientand
               Shield M inistries.Thus,David Tnzluck knew clearly thathe wasnotthe site
               supervisorason multipleoccasionsJanehad refusedto give David Truluck
               information becausethereleasehad notbeen completed.Jane'srefusalto give
               inform ation D avid Tnzluck requested,m ay have given D avid Truluck,atl
               individualw ith a seriouscrim erecord,m otivation to allege incorrectinform ation
               to defendantLiberty.
            #. Intem ship w as conducted atShield M inistriesundersupervision ofW inzm ife,
               usingW in4taifefonns,etc.- in otherwords,everything exceptforlocation was
                                                                 COM PLA INT
                                                                 D oe v.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 19 of 65 Pageid#: 19

                                                                                 Page 19 of65


             conduded identically asatW in4LifeasJanehadtoldDefendantPddein her
             November,2016'email.Thiswasaffirmed by Jane'ssite supervisorvialetterto
             defendantLiberty.AIIcotmseling wasconducted tmdertheW in4Lifenlbric,as
             explainedto Shield M inistdesaswellto each clientseen. TheW in4tzife site
             supervisor has previously affirm ed thatshe w as in a m eeting w here the
             partnership betw een W in4tzife and Shield M inistriesw asdiscussed and
             approved by both parties,prior to D avid T ruluck'sallegations to the
             contrary.

             Since Sarah did notcom plete atany tim e an application to be an intern,
             volunteer,or in any other capacity atShield M inistries,itappears
             tmreasonableforDavidTruluck to expectthatshewascompleting herinternsllip
             underShield M inistriesand notW in4Life.
             ThecurrentLiberty internsllip m anualattheURI,:states: ççcounseling clients
             priortoreceiving the emailfrom theintem ship departm entverifyingtheir
             approvalôfthesiteand/orsupervisor,including sitesaffliated with an approved
             site''(.p.15).However,thiswasnotinthem anualatt4hetimeJanewasin the
                  .



             course,sotzrce:hûps://-    .libehy.edA ehavioral-sciences/cou selor-ed/N -
             content/uploads/sites/lg/zolg/ol/couc 999 Intenzship M anual.pdfcom pare
                                                                     -



             with m anualwith heading PhD Practicum and Intem ship M anual2015-2016 edit

             3-9-16,whichwasineffectwhenJanetookintemship).
             ItislogicalthatLiberty included tllisdueto Jane'scage.ffthishad been written
             in themanualorsvllabuswhenJane tookthecourse.thisissuewould nothave
             occurred. Thepolicy w ould have m ade itclearthatutilizing the snm e site
             supèrvisorand thesnme externalsupervisor,in a differentphysicallocation,was
             notallowed withoutspecitk approvalofthe faculty supervisor.Thus,itwould
                                                                 !
             appear thatLiberty isacknow ledging that an error w as m ade in Jane's case,


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                                                              Doev.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 20 of 65 Pageid#: 20

                                                                                       Page 20 of65


               or atthe m inim um ,thatthe existing docum entation,and D r.Pride's em ails,
               Iacked clarity.
    62.Liberty alleges:Janewastoldthatan affiliation agreem entwould benecessary forthe
 new site,ShieldM inistries. Janeasserts:A plain readingofDr.Pride'semailofDecember
 2016,asreferencedabove,pv iculllyin lightofDr.Pride'semailoflateSpring2016,leadsto
 an entirely differentconclusion than whatLiberty states.
    63.Liberty alleges:Janestarted seeing clientsatShieldM inistriesW ITHOUT asigned copy
 ofLiberty'sA ffiliation Agreem ent. Jane asserts:no affiliation agreem entw asnecessary
 becauseJanem etallthecdteriaofDr.Pride'sem ailsofDecem ber2016 and lateSpring 2016.
    64.Liberty alleges:Jane w as told three separate tim es to discontinue seeing clients ata11
 Intem ship locationsuntila11paperwork hadbeen adequately completed.
           a. Jane asserts:Jane w as on a business trip dtlring allofthese tllree tim es,and thus
                                                                       Y,

               apparently did notrespond asquickly and asDr.Deacon assum ed appropriate;
    65.Liberty alleges:In correspondencewith theDirectorofShield M irlistries,itwas
 determined Janehasmisrepresented therelationship between W in4Lifeand Shield M inistries,

 W hichpotentially createdaconflictofinterestforthetwoorganizationsandjeopardizedtheir
 abilityto provide selwices.
                                                                            t

               Jane asserts:Jane arfd hersite supervisor,both attested to D efendantLiberty that
               Shield M irlistriesH AD agreed to the sam e term s and thusitw as nota
               m isrepresentation.M ultiple emailsin January and Febnlary 2017,where
               W in4taifes
                         'oughtto write down theverbalagteement,served asnoticeto Shield

               M inistriesthatW in4Lifeconsidered the verbalcontract/partnership between
               Shield M inistriesand W in4taife to be fully in effectstarting in late N ovem ber
               2016. Thus.if Shield M inistries did notthink a contractw asin force.Shield
               M inistrieshad multipleopportunitiesto speak to W in4Lifeaboutthism atter.
               Thusitis Shield M inistriesthathas mievously m isrepresented the relationship
               between W in4Life and Shield M inistries.
                                                                   COM PLA IN T
                                                                   D oe v.Liberty U niversity eta1.
    Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 21 of 65 Pageid#: 21

                                                                                      Page21of65


                  Dr.Deacon to JaneDoe on Febnlary 21,2017 9:40:33PM - û&Iam blessedthat
                  yotzrdaughterdoesnotneed tobein cotlrt.Asfa.
                                                             rassending m ecladfying
                  docllmentation,there isnotapressing need forit.Yourearlierem ailprovided
                                                    i
                  sufficientinformation form e.Atthlspoint,Ineed to getadditionalinform ation
                  directly from thesite. Becausethere isnotasigned affiliation agreem entbetween
                  Shield M inistriesand thetmiversity,you cnnnotseeclientsatthatsiteasapartof
                  yolzrintem ship.1need to haveyou confirm thatyou understandthatthisisthe
                  case,and thatyou willnotsee clientsatShield M inistriesuntilthereisa signed
                  agreem entin place.Inotised Dr.            XX ofthisaswell.Pleaserqspond to
                  thisem ailindicating thatyou areno longerseeing clientsatSllield M inistdes.''
                  JaneDoeto Dr.Deacon Febnzary22 at7:09AM -çGInm no longerseeing clients
                  atSllield M irlistdes.ldo wanttp explain m oreofwhathappened,and why I
                  intentionally saw clientsasapartofW in4Life.ltwasnotdeception atal1''.

                  Dr.Deacon to JaneDoeon Febnzary 22 8:10 AM - Gtcould you also confirm that
                  you àrealso notseeing any clientswho areassociated in any way with Shield
                  M inistries...''

                  N ote Jane's externalsupervisor and Jane had already told D r.D eacon Jane
.                 wasnotgoingback there. Janewasvery confllsed by tlliswholeinteraction
                                                              $
                  bçcausewhen Jane and Jane'sexternalsupervisornotified Dr.Deacon thatthe
                  agreem çntbetween Shield M inistriesand W inzz ife dueto theerraticnatureof
                  David Truluck,itseem ed obviousJanewasnotreturningto thesite.Janealso
                  doesnotbelteveDr.DeaconcanorderJanetostopal1counseling,including
                  cotm seling tm derJane'sprovisionallicense,only the counseling in the intenù hip
                  afterallprocedukesin them anualsarefollow ed,and only then.

        66.L iberty alleges:Jane advertised through Psychology Today to see clientsindependently,
     w ithoutapprovalorsupervision from progrnm coordinators.
                                                                   COM PLA INT
                                                                   D oe v.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 22 of 65 Pageid#: 22
                                                                                                V..
                                                                                     Page 22 of65


           a. Janeasserts:Janewasnevereventold aspartoftheappealsprooessthatDr.
               Deacon wasusing thePsychology Today pageasGtevidence''againsther.
               Janedoesnotknow ofDefendantLiberty having anypolicy disallowing a sttldent,
               particularly onethatislicensed,from advertisingforinternsllip clientsatan
               internship site,through Psychology Today.
           c. Logically,itwould appearthatm any LibertyPhD studentsalso advertisethrough
               PsychofogyTodayastheyhavetomakealivingwllileattendingschool.
               The oneclientseen through Psychology today wasnotified,verbally and in
               m iting,usingthesam eW inzm ifeacreem entfolnm thatshewasundersupervision
               aswellasan intern atLibertv Universitv andthustmderDefendantLiberty's
               supervision.Thiswasnotincluded in the ad becausetherewajno good placeto
               inclvde this.
               Therefore,Janedoesnotunderstand whatorhow Libertv thinkstllisisevidence
               againsther,particularly sincedefendantLiberty doesnotappeartohave explained
               how any ofthis Gtevidence''w as evidence;
    67.Liberty alleges:Repeatedly contacted SAO to discusseventsincluding ççAbuse''suffered
 atinternsllip and diftkultieswith daughter.
                                               .               '                 .

           a. Jane asserts:Thisstatem entisevidence ofdiscrim ination acainstJane bv
               defendantLibertvssinceJaneisbeing discrim inated againstdueto herfam ilial
               association w ith herchild.
           b. Logically,Janedoesnottmderstand how acrade can begiven based on the
                               '    Nw                     .

               allecationsofan abusive supervisorwithoutan investication.             '
                .


           c. Janedid discusstheissuesofabusewith theStudentAdvocatevadoustim es.
               Since tltis undated m em o from D efendantLiberty doesnoteven statew hen these
               contactsoccurred,Jane isunable to respond. Jane likely contactthe Student
               AdvocatewhentheTitleIX officerefused to considerhercase and shewantedto
               know how she could reportthe allecations so an investication could occtlr.
                                                                   CO M PLA FN T
                                                                   D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 23 of 65 Pageid#: 23

                                                                                    Page 23of65


           d. Asafacultym ember,Janebelieved thatitwasherduty asallemployeeto ensure
               the system icissuesthatoccun'ed wereinvestigated,asshebelieved they were a
               significantrisk ofliabilityto Liberty.Thus.asaù em ploveeshehad to discuss
               these events to the attention ofD efendantLiberty and thatJane w as
               perform inz a w histleblow inz function.
               Janedid discussissueswith herdaughterbecause shewastmableto find any
               accomm odation with Liberty University,asshehad been discrim inated against
               due to her child'sdisability.
    68.Liberty alleges:Jane w as dism issed from the LU O PhD Colm seling Education progrnm
 in M arch 2017.Jane asserts..seecom mentsaboutlack ofdueprocessthroughoutthis
 doclxm ent.
    69.Liberty asserts:Jane appealed thedecision,butitwasupheld.Jane asserts:that
 necessaryinform ation forherdefense waswithheldthroughputtheappeal,stïch asthis
 docllm ent,aswellasin herattem ptto filewith TitleIX.
    70.Liberty alleges:Overthecourse ofthelasttwo years,Janehad threatened tGlegalaction'',
 butdeclineswhen asked to clarify herintentions.
               Janeasserts.
                          'Sinceitisunknown when thisdocumentwaswritten,shedoesnot
               ltnow when theçGtwo years''started orended. She doesnotkhow ofany time
               before early 2018 thatshe even m entioned legalaction,letalone declined Gtw hen
               asked to clarify herintentions''.
           b. Janedid ask form ediation on multipleoccasionsbetweenthe Sum merof2016
               and early 2018.

               Janenotesthatshedidtellmult/leindividualsatLibertyaboutthedv culties
               with her daughter. W hen Janew asnotallow ed bv D r.D eacon to w ithdraw
               from the internship due to these difficulties,logically Jane m ay have discussed
               thiswith thesm dentadvocate. Dr.Deacon apparently assumedthatJanesought
               to withdraw forotherreasons.
                                                                 COM PLM NT
                                                                 D oe v.Liberty University etal.
    Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 24 of 65 Pageid#: 24

                                                                                          Page 24 of65


                d. Notethem any timesthroughoutthisdocllm entJaneDr.Deacon wastold about
                   thefam ily diflk ultiesshewasexpedèncing. Clearly,therewlx
                                                                            çno reason to deny

                   Jane'srequesttowithdrawh'om thecourse.ThisleftJanein averydiffkult
                    position assheworked 30orm orehoursaweek,parentedherchild'sextensive
                    needs,and worked arotmd 15hoursaweek on an internship shehad tried to
                    withdraw fw m .IfDr.Deacon didnotunderstandthe stressJanew astm der,she
                    couldhavecorrectedthismultipletimes,such aswhen sheparticipated in wtiting
                    açt etterofConcern''to Janeon December5,2016
                    Janedideverything in herpowerto avoid filing a lawsuit.Thisincluded
                                                                   vf--
                    contactingGodlyResponsetoAbuseinChristianEnvironments(GRACE),as
                    wellasseveralothermediators.Shewasforced to utilizean attorney to m iteher
                    academicappealsdueto Liberty disallowing Janeadditionaltim eto writethe
                    appealsafterherchild wasassaulted.Janedesperately did notwantto filea

                    lawsuitbecausèinthepastshehadlovedLiberty,bothasstudentandasadjunct
                    faculty.

     LIBERTY'SFLAW ED TIM ELINE 0/ TITLE IX ACTIVITY
        71.Below are comm entson DefendantLiberty'sdocum entçT im elineofTitleIX
     involvem enf',when D efendantLiberty's com m entsw ere cleady discrim inatory,retaliatory or
     intimidating.Notethisisundated,so itappearsto havebeen lastupdated on orafterthelast,in
     Novem ber2016.
        72.June9,20162:17PM - EmailtoJanefrom TitleIX (BrittneyW ardlaw)llAilegedabuse
     isem otionavpsychologicaland alleged abusersarenotemployeesoftheuniversity oreven
     independently contracted.'' Optionsavailable to Jane atthattim e w ere EGcom plaintw ith the
     board,file a com plaintw ith the directorsofthe site,orappealto the A ssociate D ean in
     Counseling Education.'' A cknow ledged Jane w as granted grace to stay in the program despite




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Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 25 of 65 Pageid#: 25

                                                                                     Page 25 of65


 the dism issalpolicy. t11w illnotbe able to assistyou furtherw ith thism atterfrom the
 perspective ofthe Title IX Oflk e.''
            a. Janenotes:Pleasenotecom mentsaboveaboutTitle IX aswellasafsliation
                agreem ents.Pleasenoteitwasin forcefrom lateFebruary 2015to lateFebruary
                2016. However,the studentagreementwasto end on oraround Decem ber 18,
                                                                           1

                2016.

    73.June14,2016 1:54PM EmailtoDr.M arkM yers(Assoc.DeanofCotmselorEducation)
 from Jane:G1Irem ain upsetthatIreceived a C dueto an abusive supervisor. IdonotbelieveI
 shouldhavetokeepaC fora1ltimesimplybecausearlabusivesupervisordecided1was
 incom petentwhen Ihad live supex ision in frontofheron one occasion.''
    74.Janenotes:Thisisyetanothertim ewhen Janenotified DefendantLiberty oftheabuse
 thathad occurred.

    75.Jun 15,20164:58PM EmailtoJanef'
                                     rom Dr.M arkM yers(Assoc.DeanofCotmselor
 Education)Gt...ll.
                  ecommendedJaneuseççestablishedprotocol''toaddressissuesexperienced
                                                                       '
                                   ,

 while intheprogram .Admonishes,ltlfyou areallegingthata Iicensed counselor atyoursite
 abused you.You needto makesurethatitiswhatyou mean.Accusing som eoneofabuseopens
 them up to sedousrepercussionsaswellasopensyou up to a 1aw s'
                                                             lzitifthataccusation is
 tm fotm ded orexaggerated...''
            a. Jane notes:Jane believes thisw as a statem ent m eantto intim idate Jane.
                C learly,Janew ould nothave reported an abusive situation if ithad not
                occurred.

    76.Jtme15,2016EmailtoTitleIX fBritlieyW ardlaw)from Janetoreferencetotheemail
 received to herfrom Dr.M ark M yers.
            a. Jane notes:tçl-lere isan exam ple ofthe m inim ization ofthe abuse Iincurred,this
                oneby aLiberty professor.Ihaveforwarded itto Dr.W arren aswe1l.''

    77.Jtme26,20169:23AM EmailtoJanefrom TitleIX (BrittneyW ardlaw):çtBynomeans
 are w e neglecting yourconcel'
                              nsorignoring thatw e are here foryou.H ow ever,w ehave done
                                                                  CO M PLA m T
                                                                  D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 26 of 65 Pageid#: 26

                                                                                      Page29of65


 due diligence in exhausting alleffortsto give you the necessary supportasw e w ould any
 individualwho ispartofthe com m tm ity w e server. M oreover,wehavefollowedthrough with
 theprotocolthatgivesustheability to respond tothe allegatipns.''
            a. Janenotes:OnceagainJane'sexpedencesareminjmized asthemany events
               citedabovedonotqualifyasRduediligence''underanyjtandard.
    78.November25,20164:48PM EmailtoDr.SteveW arren (Interim Dean Schoolof
 behavioralSciences)from Jane:ûGIspentmonthsbeinetolddailv bvmvsupervisorsatthe
 IsitelthatIwasno zood asa counselor.'' She statesfacul'
                                                       ty,Elonly Iistened to thew ordsof
 two abusivesupervisors''and shewastçblam ed in a situation whereshereally needed
 support-'' Janethen detailssomepersonaleventsinvolving herdaùghter'shealth,including
 thather child revealed she w as sexually abllsed w hile at sum m er cam p.
                  /
            a. Jane notes:Again,cllild's disability isnoted in a discrim inatory m nnner.

 O V ER ALL TIM ELINE O F EV ENT S
        On oraroundNovem ber21,2015,Jane'sm inorchild ran away f'
                                                                rom heroutofstate
 placem ent.Janeknew shewouldbe required to bringherchild home from theplacementdueto
 lack ofmonçy foran additionalplacement. Thisnattlrally wasvery upsçtting.
        On or around 23 N ovem ber,2015,Jane had to do a w ellcheck on a clientaspartofa
 plan to avoid hospitalization ofclient.Jane'ssite supervisorcnm ein partway through the
 session and satin such away itmadeitdifficultto seetheclient. W ritten up thisway in another
 wdteup:Concurrently,Thanksgiving week 2015 Jane'sadolescentchild'scondition worsened.
 Although tothatpointherchildhad been in an outofstatefacility dueto m entalhealth issues,it
 quicldy becnme cleararotmd SaturdayN ovem ber21,2015,when herchild ran away from the
 facility and had to be rettm led by the police,thather cllild would soon be rettuming how without
 any adequate placem entavailable. Jane w as devastated and thustm able to ftm ction w ellw llile
 performing awellcheck in thissite supervisor'spresence''.




                                                                   COM PLA IN T
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           Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 27 of 65 Pageid#: 27

                                                                                                 Page 27 of65


        'y .       '
.                 3. Janeasked in an emailaroundDecember15,2015,towithdraw from theinternship. The
               prèviousyear,Dr.Pridehad statedin em ailon oraround 16 Decem ber2015thatJanewouldbe
               allowed towithdraw. Janedecidedtotakean incom pleteinstead,becauseethically shecouldnot
               leavenotesincomplete,eventhough otherprofessionalshad stated hernotesm etdoctoral
    '
               standardspreviousto multiplere-wlites. Janeearnestly believed thatwhen Dr.Pride realized
               how coercive the situation w as,he w ould llnd a w ay to release her from this ethical
               obligation,and thatifhedid not,DefendantSosin would,since Sosin knew Janemorethan
               DefendantPridedid.
                  4. Thusitcam e asashock when Dr.Deacon refusedto allow w ithdraw .Janelikely would
               nothavesigned up forthecoursethatsem esterifshehad known thatshewould notbeableto
               getawithdraw iforwhen itbecame necessary..
                  5. Janethatshew roteeach note8 to 10 tim es. Clearly,thisisinappropriate. Janeasked for
               help with hernotesfrom hersupervisors,butreceived littlehelp,otherthan comm entssuch as
               GKthisisanotherexample ofyou notlistening''.
                  6. In desperation,JanespoketoDr.Pride,who stated hecould nothelp hersince shewas
               notallowed to takenotesaway from thepracticum site.
                  7. Som etimeinD ecem ber2015orJanuary 2016,apsychologist,apartfrom theintenzship
               site,reviewednotetaking wit,
                                          h herand found thatshewaswriting notesataDoctoralSm dent
               level. Theexternalsupervisor,who supervised herlaterin hersecond internship,also orally
               reported no problem swith Jane'snotewliting.This'Kextenzalsupervisor''rem ainsJane's
               supervisorforstate licensure..
                  8. Itissincerely believedby Janethatthiswasthepointshebegan begging Dr.Prideto
               com e seethesitehim self. Janesincerely believedthatifDr.Pridevisited thesite forahalfday -
               only asix hourdriveeach way - hew ould seethecoerciveenvironm entforhim selfandfind a
               solution. Instead,hestated thiswasim possible.
                   9. Between December2015 and February 2016,during thistim eperiod she spentin excess
               offourhoursm iting and re-writing each note,exclusive oftim espentbeforeDecember2015.
                                                                        C OM PLAN
                                                                              D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 28 of 65 Pageid#: 28

                                                                                 Page 28 of65


    10.Thiswasonly the only secondtim eshehadRlivesupervision''thatsemester,asshehad
 only been supervised oncepreviously,in early September2015, both tim esforabout15 minutes
 each.
    11.Thenew site supervisoratthefirstsitedecided rem ediation wasnecessary.Janew as
 blindsided by thisindividual'sinsistenceon remediation,given afew m inutesbefore clinical
 closed on oraround 27 November,2015,theday afterThanksgiving - thusgiving Janenottim e
 tothink through agood response..
    12.Janehadonly been in clinicalaround seventim essincethelastevaluation. Jane had not
 been supervised w eekly by the previoussite supervisor as required by the syllabus and
 currentstandards. Shehad notreceived any advancewarning thattheremightbe aproblem as
 herlastevaluationhad been good.A site supervisoreven acknowledged Ktdroppingtheball''in
 an em ailofaroundFebruary 27,2016.Additionally,thesite supervisorprepared themid-tenn
 evaluaion am onth late.Jane'ssecond supervisoratthe firstsitedidnotmeetDEFENDAN T
 LIBERTY'Sguidelinessinceshedid nothave aSouth Carolinalicense,buthad only an outof
 statelicense,legalsincetheinternship occurred on amilitarybase.
    13.JaneaskedDr.Prideto assisthersinceno one atthesitew ould providemeaningful
 assistance. D r.Pride refused,stating ççI cannothelp you''. This w as devastating.

    14.Janethensoughtassistancefrom aPsycholo/stoutsideofthesiteinFall2015.
    15.ifl-
          l'
           ane's2*sitesupervisoratfirstintemshipsitejdecidedafterabouttwohoursof
 supervision andobserving one ofmy sessions,thatJaneneeded rem ediation,eventhough she
 had had agood mid-term evaluation around two weeksbefore. She did notlisten when Isaid

 thatmydaughterhadjustrtznaway,orthatlwasanxious.lnstead,shewrotearemediationplan
 and gaveme aboutthirty secondsto sign it.1should haverefused since shedidnoteven tellm e
 why shethought1needed a rem ediation plan.''
    16.Additionally,thecopy ofthe rem ediation lettersenttoLiberty University wasunsir ed.
 M ostimportantly,theplan didnotmeetcurrentstandardsduetotheplan'slack ofspeciflcity


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Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 29 of 65 Pageid#: 29

                                                                                                Page 29 of65


 and thusIack ofbeing m easurable.EmailtoDr.Pride,on oraround 12 December,stating
Janehad sir ed therem ediation plan only because shefeltforcedto.

STANDARDS NOT M ET BY DEFENDANT LD ERTY
    17.Variousstandardsfrom theindustry aswellasthecoursesyllabusand handbook apply to
thissituation.ln an appealdirectly toDr.Prideand Dr.Sosin datedM arch l5,2016,Janelisted
 someindustrybestpracécesthatthe site did notobserve:

       TheACESBestPmcticesemphnqizetheimportance oftheworldngallianceand asupervisor/supervisee

       relationshipthatisucollabomiveandegalitnrian''(1.c),theimpodnnceutilizingas'um rvisioncontrdct
          (8.a),theimm rfnnceofbalancingtlclmllengingandsupportive''andGçcleal''feedbackthntisconsmzctive...
          specitic,concreteallddescripdve''(3.a& b),thntthesupewisormustrecognizetbntRsomelevelof
       conflictisinevitable...''7nndthntthesupewisormustlundlethisconflicti.
                                                                           nZtproductivcways''(5.
                                                                                                b),thnt
       thesupervisorGGattendstostrains,gapsand/orrupturesdnworkingalliance''(5.
                                                                              b),fhntthesupewisor
       Velicts''andisopentofeedback(5.
                                     b),thntthesupervisordiscussessumwkseestrengthsaswellas
       limitations(7.c,9.a),thntthesupervisorksatlentivetothepowerdifferentinl(5.c),thntremediaionmust
          includeKclearobjectives,requirements,atimeline,andcorlsequences''(9.d),andthnttheSupewisorhnKthe
          ççcoumgetobeimperfect''anddoesnotrequiresupewiseestobeperfect(11.d).

          Similarguidelinesfrom theAPA emphnqizethe supervisory relatiorkship anditslink totheassessm ent,

          evaluaionandfeedbackofsupewisees(llc '
                                               .//apa.orfabouvpolicv/e de% es-supenzision.pK .These
          guidelinesamplify theACA BestPmcticesby requin'ngaopennessand fm nsrtzrcnc-v'
                                                                                      '(E.1),lhntmultiple
          colmqelingsessiorlsshouldbeincludedinanevaluation(E.2& 3),lhntfeedbackshouldbeadirect,clear,
          andtimely,behaviorallyanchore4 responsivetosupervisees'reactions,andmindfuloftheimpacttuzthe
          s'
           lzpervfk
                  s'
                   t)r.prelationshtp''sothntGevaluationisnotasurprise''(E.3),highlightthepossibilityof
      .   supewiseeQdemoralization''(E.3),theemphasizingimporfnnceofthepowerdifferential(CpC.3),nndby
          empathizingtheimportnnceofacollabomdverelatiorlship(ExecutiveS             ).




                                                                    CO O LU T
                                                                         D oe v.Liberty U niversity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 30 of 65 Pageid#: 30

                                                                                 Page 30 of65


    l8.D espite Jane reporting defk iencies centering around com m only used standards,D r.
 Sosin in Novem beror Decçmber 2016 notified theInspectorG eneralthatthe sitehad
 exceeded currentstandards.

    19.DespiteJanereporting thesebreaches,shereceived no responsefrom Dr.Sosin or
 D r.Pride asking for details.
    20.On oraround 12 December2015,Dr.Pridenotifed Janethatissueshad occurred ather
 practicum sitethatcouldpreventherfrom continuing in theprogram .
    21.Eventhough theintem ship hadended around 18Decem ber2015,shewasrequiredby
 Liberty University tokeep attending the site,even aftershe sentem ailsdescribing behavioron
 thesupervisor'spartthatiscomm only thoughtofasabusive,coerciveandretaliatory.
    22.ThisleA Janefeeling hopeless,frightened andanxious,as20 plushoursaweek,shewas
 leftconstantly wondering when hersupervisorwasgoingto com einto Jane'sofscewith another
 untrueallegation. Severaloftheseallegationswerereportedto DefendantLibertywith no

 reSPOnSe.
    23.Around 24 hoursafterleaving thesite forthelasttime,Janereceived aC from theDr.
 Pride,eventhoughtherew ereinconsistenciesbetween thesites'evaluationsand thelogsas
 signed by the supervisor.
 JANE DOE PROVD ES EVIDENCE OF THE COERCIVE/M USIVE ENVIRONM ENT
 AT H ER U TERNSHIP SITE W HR E STR L AT THE INTERNSHD SITE

    24.ln an attem ptto beprofessionalin adiffcultsituation,Janedecidedto describeeach
 abusive situationto Dr.Pridewithoutusingthew ord abuse. Janeiniéally tried notto usethe
 wordtlabuse''asitcanbedefined in m any differentways.Janebelievedthatby documenting
 each occurrenceDr.Pride orDr.Sosinw ould recognizethe coerciveand abusive natureofthe
 site eventually help her.
    25.Thesem ultiplereportsJanem adetoLiberty Urliversity viaem ailand viaasm dent
 evaluation ofthesitetoDr.Pride,directorofClinicalTraining,w ereignored orreceived
 milzim alresponse.

                                                         COO LY N T
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    Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 31 of 65 Pageid#: 31
                                                                                    Page 31 of65



        26.AsJanewrotethe siteevaluation shewasconcerned abouthow bestto describethe
     abusiveand coerciveinternship site. Thisreportm ustbeunderstood in thecontextofthepower
     differentialbetween Dr.PrideandJane,Dr.Pride'spreviouslack ofresponseto previousreports.
     Also sinceJanewasstillstuck in themesh ofan abusive situation and feared shewasunsafe,her
     priority wassafety.Thismeantthatshehadnotyethad tim etothink thingsthrough and focus.
        27.Thesiteevaluation labelledJane'ssecond internship supervisoratthefirstsiteas1 outof
        Oneoutof5wasdefined by LibertyUniversity as<<A 3Jcr.yinadequateleam ing experience''

     (italicsin originalq.
        28.Liberty supervisorDr.Pridelabelled atthatpointasa3 - Satisfactory - asJaneassumed
     atthatpointthatDr.Pridew ould do hisdue diligence,forinstance,by reading the site
     evaluaéon,and inveségate- which did notoccur.
        29.&&Atthispoint,Ihavedocumentedproblem swiththe site,butthereisno strong evidence

     (ofmycompetencyq,unlessDr.Pridechosetocomeinperson.Sincevideoandaudio-tapingis
     notallowed,and notescannotberem oved from the site,Icannoteven provideim portant
     evidence.''
        30. LL...afterdealing with an initialpracticum sightin January 2014thatwasunethical,Ifelt

     thiswasthebestIcouldfind.''(PleasenotethatIstated2014andnot2015-asignof'the
     extremestressIwasunden).
        31.Dueto Dr.Pride'slack ofresponse,Janebegan to add Dr.Sosin to herem ailed reportsof
     whathadhappened. Janealso spoketoDr.Prideop thetelephone oneorm oretimesand asked
     llim tocomevisitthesite,sinceitwaswithin6hoursofDr.Pride'slocaéon Echeckifthisisin
     emaildocumentationasIbelieveitis).Tlliswasrefusedorally,andlikelyir oredintheemails.
        32.Janebelievesthatpliorto 15Febrtzary 2016,Dr.PlideorDr.Sosin,asa designated
     m andated reportershould havereportedthissituaéon to Title1X,orattheminimum released
     Janefrom herethicalobligation to retum tothesite. Theem ailsculminatedin Janewliéng an
     email,the lastofthreeorm oredocum ents,on orabout15 February 2016,stating thatitwas


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                                                                D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 32 of 65 Pageid#: 32
                                                                                  Page 32 of65



 unsafeforhertorettll'nto herinternslzip site.H owevèrno mandatedreporterfiled anything to

 TitleIX untilSum mer20l8.
    33.Later,in M arch 2017,when Janem etwith multipleLiberty faculty in arecorded meeting
 afterthe expulsion,shewasonce againtoldshehad notreported thesim ationtoLiberty priorto
 theexpulsion.Janetook am omentto collectherselfaqerthisoutrageousstatem entand stated
 something to theeffectof K(Ithink theem ails1senttoLibertybeforeIleftthe sitewerepretty
 clean''
    34.Jane has notIistened to this m eeting again,due to the traum atic nature of sitting in
 a m eeting such asthis,and hearing statem ents such asthis,w ith those w ho w ere m andated
 reportersbutdid notreport. Janewillbereading thetranscliptonceitisprepared.
    35.February9,2016,11:07am,JaneemailedDr.Plide:çfljustspoketo (Jane's2supervisors
 atfrstsiteq.Jane'ssitesuperdsorfoundoutyesterdaythatFrank hadwlittenaletteron my
 behalf...Ifeltpushed afew minutesago to tellthem thatIwasplanning tofind another

 site...EsupervisorsstateqthatInm splittingstaffsincelwroteanemailtosomeoneelsewhoused
 to bein clinicalaboutthe sim ation yesterday....otherthan yesterday,Ihavealm ost100%
 stopped talking to other staffabout anything to m ake sure no one thinltsI am splitting.The
 only exception isthatIhaveneededFrank'sencouragementto staywithin thissim ation.....
 Y esterday I even reported w hen I asked another staF m em ber w here m ore toiletpaper

 was,justso Ilane'stwositesupervisors)would ltnow Iam notsplitting....Secondly,Iwas
 ventingbecauseIwasvery hurtwhenIwastoldyesterdayby llane'ssitesupervisorsqthatIhad
 told som eone1did notwantto takeinstm ction from my supervisorbecause sheisaGS 12 in the

 federalsystem (andIam aGS 13)...1wasalsoupsetbecausethisK&rumo/'wastakenastruth
 withoutasking m eaboutit.....Iworked so very hard to work thingsoutthisJanuary,aniving
 early and staying late...lcannotwaitto getback to aplacewhereIcan fly my wingsagain....
 Pleasecontinueto pray formy daughter,assheisstillin alotofpain....''.
     36.Find aFebnzary 12*em ailto Dr.PlideandDr.Sosin thatisreferenced on February 13,
 2016 7:33 PM em ail.
                                                         COM PLAINT
                                                              Doev.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 33 of 65 Pageid#: 33
                                                                               Page33 of65



     37.February 13,2016at7:33PM ,JanetoDr.Pride,andduetolackofresponsetotheemail
 ofFebrualy *,and toreportsitehadgonekom 'ZJJ toworse'':1;1couldnotgetbacktoyouas
 much asIwantedtoyesterday,asmy daughterhad anotherem ergency.Did you receivethe
 email1senton Tuesday aboutproblem swith my internship sitethatday? ...
     38.Iam tlzinking 1wasnotclearenough in thatem ailoryou orDr.Sosinw ould havesent

 mesomesortofanreply already.Fortunatel#M ondayisafederalholiday so1cannotbeEatthe
 siteq.IdesperatelyneedtotalktoyouM onday asatthispointIdonotfeelsafegoingintothe
 Einternshipsite).1havenoproblem withphysicalsafetythere,butIdohaveaproblem with
 em otionalandpsychologicalsfety....To addressyourqueséon,thingshavegonefrom bad to
 W OfSe. .. :7


 UNSUCCESSFUL ATTIM TSTO REM EDY THISOUTM GEOUSCOXDUCT W ITH
 APPEAL TO TITLE W AND TH E DISABILITV S OFFICES AT LD ERTY
     39.FERPA:Som etimein 2016 or2017 a docum enttitled'ZLU PersonnelInvolvedwith
 M attersRelatedtoJaneDoe''wascreated byD efendantLIBERTY .Thisglievously inaccurate
 documentisdiscussedbelow,with Jane'sresponseto each allegation in thedocum ent.
     40.FERPA:On June8*,2016 Janeto Blittney W ardlaw,formerTitleIX coordinator.Later
 thatsam eday BrittneyW ardlaw senttoLisa Sosin andEliasM oitinho:ECAII- Ihave som e
 concem saboutthisreport.Ispoke with Jane overthe phoneand rm notsureIunderstand
 w hatshe's alleging butI have a feeling itw illnotbe the Iastthatany ofushear from her.
 Please give m e a callatyour earliestconvenience.--g'
     41.Thisisbutoneexample,taken from theFERPA documentation released in Febrtzary
 2019,ofwhereJane wasdefam ed within Liberty.Thisdefamation m ade individualssuch as
 EliasM oitinho uùableto look attheappealin an unbiased m anner,such asEliasM oitinho.
     42.IfJane had known ofthisconversation,Janewould haveasked forherv adeappealtobe
 heard by an unbiased individual.
     43.Jane has personalknow ledge,in theform ofem ails,thatshe w as defam ed in this
 m anner,starting in 2016 through Fall2018 to one other or m ore individualsw ho review ed

                                                         C OO LM N T
                                                              Doev.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 34 of 65 Pageid#: 34

                                                                                  Page 34 of65



 her grade appeal. M ost recently,Jane w as defam ed to the Provostin sum m er 2018 and the
 Presidentofthe U niversity in the fallof2018.Jane believes m uch ofthe defam ation
 occurred in telephone or in person conversationsbetween L iberty affiliated individuals,
 such as in the case w ith Brittany W ardlaw above.
    44.Thingsgotsteadily w orse and many sectionsoftheCodeofFederalRegulafonsand
 ethicalcodeswereignored by my site,aU SN avy facility outsideCharleston,SC.Dr.Prideleft
 an incompleteopen,somehow expecting thingsto getbetter.Asthingsdeteriorated,lasked to
 getoutofan abusivesite,andwastold to go back by Dr.Pride.Icried every day atm y desk for

 monthsEwhileattheinternshipl.....Thesimationhasbecomeacutebecause1havebeentrying
 tore-do internshipthissem ester.lfinally fled acom plaintto thelndependentGovernm ent
 lnvestigatorsincemy sitewasfederalgovem ment...Idescribed lossofmy confidentiality to
 Liberty by my supervisorsand associated possiblediscrim ination ...lfeelvery invalidated by
 Liberty'shandling ofthesituation with my priorintem ship.Thism akesm efeelunsafe and
 unableto perform ,particularly when Dr.Pride isinvolved. Ibelieveifhehadlistened in
 OctoberandNovember2015,thissituation would nothaveoccurred,yethe issupposed to be a
 partofthesolution.ltriedto talktohim viaem ailtwow eeksago to cleartheair,and he did not
 even know the airneeded tobecleared.W hen Idescribed theissuein moredetail,hedidnot
 even botherto answerm y em ail.Atthispointin m any w aysLiberty'sresponse hasbeen
 m ore w ounding than the eriginalabu:e.''

    45.OnNovember29,20168:39PV JaneDoetoRussellM onroe,subject:lmernshipabuse
 query:::lunderstand from theLU PD ofscerIspoketo today thatyöu arelooldng intotheissues
 Ihavehad in thecounseling department.....Butthelargerissuesarewith my PhD in counseling
 intelmship in Fall2015.Ireported issuesto theDirectorofClinicalTraining,Dr.Pride.Hedid
 notdo anything untilmy new supervisoratthesitereported problemsaround amonth later''.
 D espitethefactthat1had aB/B+ evaluation 8 daysearlieraccording tothefirstsupervisor,
 when thenew supervisorsaid1needed rem ediation,hedidnotletm eeven presentmy sidetothe


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                                                              Doev.LibertyU niversity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 35 of 65 Pageid#: 35

                                                                                    Page 35 of65



 rem ediation comm ittee.''Atthatpoint,the sim ation wassom ewhatabusivebutsteadily grew
 W OfSe.

    46.FERPA :M arch 10,2017,12:36 PM :M ary Deacon sendsem ailto Lisa Sosin and Russell
 M onroethatstatesthatshe hasattached attcease-and-desistnoticeto Janefrom Shield M inistries
 and 1willforward afinalreportfrom Shield M inistriesoutlining theirexperienceswith Jane''.
 However,JaneDoehasneverreceived any sortofceaseand desistnoticefrom anyoneatShield
 M inistries. Thisshow sthatevidencewasused againstherthatshewasnoteven m ade awareof.

 Additionally,Janebelievesno copywasreceivedthroughFERPA onlyreferenceinanemail.
    47.JanehasnotyetreadeverythingLiberty sentthrough FERPA duetothevoluminous
 natureofLiberty'sresponse and becauseofthetraum aticnature ofwhatisrecorded there.
    48.July3,201811:42AV JaneXx''x'x toTitlelXosubjectintem shipabusequery:1&Ihope1
 can feelcomfortableaswell. 1havereported and reported tothedepartm ent....Asyou m ay
 even have seen alittlebitofalready,so often when rve reported detailstothe departmentthe
 replies1have received have m ade the sim ation m uch w orse....''

    49.July 3,2018,11:02AM ,Subject:Intelmship abusequery,TitleIX ox cetoJane:&<Asa
 partoftheinvestigaéveprocess,we startwith areportfrom theComplainant,whichw ould be
 you in tllism atter.So farpwehaveonly heard generally from you thatyou experienced abuse.
 W ithoutsufficientdetail,wearelim ited in how wecan respond.Dates,nnmes,facts,
 circum stances,and any otherinform ation you canprovidewould help guidetheprocess,and
 movethingsfom ard.W ehavereviewed a11availableinfonnation,including thisem ailchain,
 andw ehaveno record containing thedetailsofthealleged abuse.W ecaredeeply aboutal1
 membersofourcnmpuscommunity andhopethatyou feelcomfortablerepolingto ourox ce.''
    50.July 13,2018,5:20 PM ,Jane D oe to Title lX ,in response to Title IX 'sunilaterally

 closingJanereport,subjectintem ship abusequery:&<lmeanttoemailyou earlierthisweek.M y
 husbandhad surgeryyesterday.Hopefullythingswillbesetting back inorderfrom hismajor
 health problemssinceM arch thisyear.l'm also going to subm italargenumberoffreedom of


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                                                                D oe v.Liberty U niversity eta1.
    Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 36 of 65 Pageid#: 36

                                                                                     Page 36 of65



     inform ation actrequestsand hopefully getthe InspectorGeneralreportappealed ifthatisstill
     Possible.''

        51.July 13,2018,10:21AM ,from JanetoTitleIX (referencingpreviousemailfrom
     BrittneyW ardlaw):<&...Atthispoint,NO ONE hasinvestigatedthissituation.'
                                                                            l'hedepartment
     may bethinking thatm eansan investigation hasoccurredand found nothing.N om atter,
     signiscantviolaionsoflaw havebeen allegedwith no investigation.''
         52.July 13,20197:39PM ,TitleIX officeto JaneDoe:IKTObeclear,you m ay m ake areport
     by simply replying tothisem ailwith thedetailsofthealleged abuse.Totheextentthatthese
     otherdocum entsprovidethedetailsofyourallegations,we areglad to review them ,butthey are
     notnecessary attlzispoint.lfyou believethatthey are relevantforsom eotherpurpose,w eare
     also gladto review them .''

         53.July 13,20187:42PM :JanerespondedtoTitleIX office,subjectIntemshipabusequery:
     G&Iwilltry todo thatthisweekend.Boiling 3+ m onthsofabuseatan intem ship sitepandyearsof
     inaction by Liberty employees,into oneem ail,willtakequite a1otoftime,and ofnecessity will
     needtobeam ended later.''
         54.On July 18,2018 at11:00 am ,Jane,in an emailto TitleIX again expressed confusion on
     whatexactly needed tobe subm itted:Rcouldyou pleaseclarify with me exactly what1am to
     subm it.Ihad thoughtthatwhatIhad already sentwassum cientto starttheprocess.''
         55.OnlyJuly 18,2018atl1:07.
                                   AM TitleIX officerespondedEtoJane):'Tleasebeginwith
     dates,names,facts,circum stances,and any otherinformation you can provide.W hatdidyou
     submitbefore?Because ourrecordsindicateyou haveneverreported thedetailsofthealleged
     abuse.Ifyou havea documentorwriting with these details,you arewelcometo re-submitit.''

         56.July 18,201812:14PM ,from TitleIX toJane,Subject:(ESaf-eT lssues'':&&rrhisemail
     wasforwarded to ouroffice.ltdoesnotcontainthedetailsofthe alleged abuse.Iwould startby
     writing aquick oneparagraph summ ary.W eneedto know specitk ally whatoccurred.''




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                                                            C OO LU T
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                                                                 Doev.Liberty University eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 37 of 65 Pageid#: 37

                                                                                 Page 37 of65



    57.Thisem ailwasin responsetothebelow :July 18,2016,11:13 AM ,from JaneDoeto
 TitleIX ::&...Itisunrealthatlbelieve1wasa crim evicém and nothing wasdoneatthetim eor
 since.In factthe departmentdenies1eversentany em ailssuch asthis...''
        M terthisem ailofW ednesday,July 18*,10:41AM w asapparently forwardedby Lisa
        Sosin to Title1X,including theFebruary 9*,2016,1107 nm toDr.Prideem ailin its

        entiretyand aquotefrom theemailofFebruary 13*,2016:ttouotebelow:(&...atthis
        pointIdonotfeelsafegoingintotheIsitel.Ihavenoproblem with physicalsafety
        there,but1do haveaproblem with em otionalandpsychologicalsafety.''
    58.N ovember30,2016,RussellM onroetoJane:f'Thankyou forcontacting me.Iunderstand
 you spoketoOfficerBrown yesterday andbelievesome clarity m ay beneeded.A11university
 employeesarerequired todirectany reportofpossible abuseofaminortoLUPD ...Iunderstand
 thatyou areseeking resolution to someissuesrelated to yourintem ship site.Unfortunately,
 LUPD ormyselfarenotin apositionto investigatethoseconcem s.A slunderstand it,thebest
 useofyourtimewouldbetocontinueto pursuethisthrough theCenterforCounseling and
 Fnm ily Studies,which itsoundslikeyou already are.''
     59.Laterthatsame day,N ovember3O,2016,JanetoRussellM onroe,cc'in Brittney
 W ardlaw andSievenW arreninresponse:ClW hatIam notunderstandingishow Liberty is
 able to notIook at a claim of discrim ination at an internship site.M though the claim isnot
 againsta Liberty em ployee,Liberty has taken action based on inform ation provided as
 partofretaliation ordiscrim ination againstm e. ltseem sthatm akeLiberty apartnerto
 discrimination onceLiberty wasnotified ofthediscrim ination involved,butyetchoseto do
 nothing...''
     60.LateronN ovember30,2016,JanetoBritm ey '
                                               W ardlaw andRussellM onroe:t&Im ay not
 mentioned in the em ailsthissumm erthatthe supervisoratm y sitebreached my confdentiality

 withLibertyasfaraswhatIunderstandisprotectedhealthinformaéon(e.g.,beinginrecovery).
 SinceLiberty already knew theinform aéon theprivacy breach w asm uch lessofaproblem than
 itcould havebeen...''
                                                         COO LU T
                                                             Doev.LibertyUniversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 38 of 65 Pageid#: 38
                                                                                Page 38 of'
                                                                                          65



    6l.December1,2016,Brittney W ardlaw toJane,cc'ing RussellM onroe:t&...w edo nothave

 thejurisdicéonorauthoritytodo anythingabouttheintemshipsite ...theextentofourresponse
 wouldbeto neverrecommendthatsiteforintem shipsagain and allow youto appealwithin the
 program which lbelieveyou havedone.Federalguidelinesarevery clearthatthe TitleIX

 applicationisattheinstitutionthatisreceiving thefederalfunding.lwouldencourage/advise
 youtoreporttheinternshiptotheEqualEmploymentOpportunityCommission....''Eemphasis
 BlittneyW ardlaw'sq
    62.FERPA :M arch 10*,2017,12:36PM ,M ary Deacon to LisaSosin andRussellM onroe:
 DrDeacon statesthatshehad written an incidentreportwhich had notgonethrough.Shethen

 attachestheincidentreporttotheemail.Atno f/zzlewtzxJanenotsedan incidentreporthad
 beensledsoshecoulddisputeit.TlzisincidentreportisalsonotattachedintheFERPA records,
 potentially aFEILPA violation(butmaybeelsewhereinit?).
    63.Itishighly ironicthatLiberty imm ediately accepted thisastruthfulevidenceconsidering
 DEFENDANT Liberty firstfound outfrom Janeand herexternalsupervisorthatshew as
 working atShieldM inistriesunderShieldM inistriespaM ership with W in4taife.Thereportw as
 madebecauseD avid Tm luck ofShieldM inistriesw asEKerratic''.
    64.Thisagreem entwasmadew ithoutany notification from Shield M inistriesthatJane
 would becloselyw orkingwith a sex olender,which appearstobe againstLiberty'spolicies.
    65.Jane'ssite supervisorstated shewould nothaveapproved thepartnership ifshehad
 been told thisby Shield M inistries.ThisleftJanein abad position indeed.
    66.Janecouldfind no policy atDEFENDA'NT LIBERTY aboutthisbutthere may beonein
 Liberty'swebsitebutthedirectory wouldnotopens.However,newsreportsshow thatin 2007,
 DEFENDANT LIBER'I'
                  Y asked aconkactorto firethreesex offenderswhowereworking atthe
 school6.Virginialaw also doesnotallow anyoneonthesex oFenderregistry tobein aschool,



 shûps'
      .//- .libe> .edu/index.cfm ?pc =763
 6hûps://fom m s.aseaofred.com /fom m s/viem opic.php?fcl3&r-3107
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                                                             D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 39 of 65 Pageid#: 39
                                                                                  Page 39 of65



 asitm ay potentially have m inors. Dr.Deacon,and othersatLiberty,choseto overlookthese
 requirem ents.
    67.DefendantLiberty appearsto havenottaken intoaccountJane'sexternalSupelwisor's
 reportthatD avidTrtzluck ofShieldM inistrieswaserratic.
    68.SinceDr.Deicon had notspoken to Jane'ssite supervisor,Jane did notreasonably expect
 thatDr.D eaconw ould endtheinvestigation so quickly.
    69.SinceDr.Deacon did notspeakto Jane'ssitesupervisorpriorto ending herinvestigation,
 Jane'ssite supervisordid nothaveachanceto affirm thatshehadbeen in meetingsin which the
 W in4Life/ShieldM inistriesdiscussedthecontract.
    70.Jane also did notexpectDr.Deacon to end the investigation beforegetting Jane's
 docum entsthatreasonably couldbeexpected to show thattherew asan oralcontractbetween
 W in4taife and ShieldM iniskies.
    71.W henDefendantLiberty wasnoéfied thatDavid Truluckw asasex osender,tier11-
 DefendantLiberty did nothing to rem edy this.

    72.FERPA:M arch 10*,2017,12:36PV M aly DeacontoLisaSosin andRussellM onroe:
 M ary Deacon goeson to statethefollowing:On an emailofM arch 10*,2016,7:51am ,Lllane
 stated thatshewasplanning to seek consultation beforedecidingwhetherto attend ameeéng
 with faculty laterthatm onth.'' M ary Deacon goeson to explain thatshefeelsthisisa threat

 oflegalaction andathreattoher IM aryDeacon'slicensure).However,consultationisakey
 partofCounselorEducation,and in factismenéoned 16 ém esin theAmerican Counseling
 Association 2014 code ofethics,which govem sM ary Deacon'slicense andwhich Liberty
 UniversitiesCounseling program subscribesto.Janebelievestheplain m eaning ofconsultation

 withanothercotmseloreducatorwasclear.Thisshowsyetanother timeM aryDeaconjumped
 to aconclusion withouthearing a11ofthe evidence andbiasingthoseJanewould betaking her
 caseto later.Additionally,thisem ailw asopened atsometim eby Stephany Steger,Title1X,a
 possibleindicaion ofbiasintheTitleIX process.


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                                                                D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 40 of 65 Pageid#: 40

                                                                                Page 40 of65



    73.FERPA :On August6,2018,RobertM ullen,Dean ofStudents,wroteto M ark Hine,
 SeniorVicePresident:'trfhey haveo/ered severaltim esto hearhercomplainf'.M ark I-
                                                                                 Iines
 reply,16 minuteslater:LtNice.Butnqtaccordingto her.@''
    74.Afterspeaking toDr.Prideshereturned to thesitebecauseshefeltforced to. The
 im plicitthreatwasthatDr.Pridewouldfailherand shewouldbeexpelled. Soon after16
 Febrtzary 2016Janew asforcedto involuntarilyresign from herinternship siteasa resultof
 LibertyUniversity'sinaction onthism atter.
    75.Theinvoluntaryresignation wasrequiredbecausethew eightofthetraum aon Jane and
 herfamily hadcaused greatpsychological,em otionaland physicaldifficulties.Theconénual
 degradingpharassm ent,coercion,insultsand untrue statementsby supervisorshad degraded Jane
 in amyriad ofpsychological,personal,and professionalways.The abuse degraded herskillsso
 thatshehadto startoverwith herprofessionalskillbuilding.Janewasunableto concentrateand
 frequently w eepy duetothetraum athatconstantly re-played in hermind. '
                                                                       I'heimpairm ent
 caused by theabuseresulted in additionaltaumatherapy even in January 2019.
    76.Janewastold by Dr.Pridethatshew ould havea chanceto expresshersideofthestory at
 am eeting oftheremediation comm ittee;however,thisdidnotoccur,and Janew asnevergiven a
 chanceto expresshersideofthestory toDr.Pride and/ortherem ediation comm ittee.
    77.However,sincetheremediation comm ittee apparently m etin secret Janedoesnotknow
 when them eeting occuaed,who wason theremediation comm ittee,whatspeciscally shewas
 alleged tohave done,oreven ifthe rem ediation com mitteeactually m et. Shewastold only that
 shehad notbeen ttprofessionaland competent''enough. ltisbelieved by JanethatDr.Pride's
 concem swerewholly unsupported particularly sinceJaneneverhad achanceto respond to
 specific allegations.
    78.Dr.Pride,Tuesday,April12,2016 5:17PM ,and cc'ingDr.Sosin,andD r.Hinson: R...
 Thecoercionw asonly a partofthescenario,notthe complete story...''




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                                                             D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 41 of 65 Pageid#: 41

                                                                               Page41 of65



    79.How ever,according tothe CodeofFederalRegulations,29 CFR 553.101:'Elndividuals
 shallbeconsidered volunteersonly wheretheirservicesare oFered freely andwithoutpressure
 orcoercion,directorimplied,from an employer.7';
    80.Dr.Plidem ay haveunderstood thatone coercive eventoccurredinstead ofthatm any
 coerciveeventsoccurred.However,theCodeofFederalRegulationsstatesthatno coercion is
 allowed.
    81.AsfarasJane know s,a signed copy ofthesiterem ediation plan hasneverbeen
 forwarded to LibertyUniversity.
    82.Janesigned thisashaving been received only,asperOftice ofPersonnelguidance.
    83.JanefirstletDr.Prideknow thatshedid notagreetotheneed forrem ediation around

 mid-December2015(listthisemailandotheremailinM ayorJune2016etc)
    84.Nevertheless,itappearsDr.PridedidnotunderstandthatJane disagreeduntilan
 telephoneconversaéon with Jane occurredin AprilorM ay 2016.
    85.From M arch 2016 onwards,Janefeltcontinually belittled and harassed by LU faculty
 whokeptparroting back untrue statementsm adeby the supervisorsatthe site.
    86.Janewasneverappraised ofany specifc difficultiesthatledto the C and remediation
 otherthan theglobalstatementaKtlack ofprofessionalism and competency''.
    87.Janeisnotawareofwhen therem ediation comm itteem et,who wason theremediation
 comm ittee,orany detailsofwhatDr.Prideorotherssubm itted.ThusJanewasneveralloweda
 chanceto addressspecificcharges. ThefilesJanereceived viaaFERPA requestin 2019 also did
 notcontain any detailsofhow thisdecisionw asm ade.
    88.Janewasdirectedto submitagradeappealdirectly toDr.Prideand Dr.Sosin asthe
 Liberty University institutionalformatdid notappearto be agood fk.
    89.In thisemailedgradeappeal,Janenotes,verbaém ,them any defcienciesofthe site,with
 referenceto theACES guidelinesabove.


 'htps://-   .law.com ell.edu/cfr/texvzg/ss3.101
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    Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 42 of 65 Pageid#: 42

                                                                                    Page 42 of65


        90.Atnotim edid Dr.Sosin orDr.PrideaddresstheseRdeficiencies''in anyw ritten
     communication thatJaneisawareof.
        91.Janeattempted totellDr.Prideherside ofthe story on m any occasions,butwasnot
     allowed to do so. Thismeantthattheprocessofgiving Janeagrade, and more importantly,the
     rem ediation process,lacked basicelem entsoffairnessaswellasproceduraland substantive
     due process.
        92.Ultim ately Jane,aspa14ofrem ediation,wasrequired to meetwithDr.Prideeverytwo
     weeksforindividualsupervision. Thiswasuntenable sinceDr.Pride had notresponded to
     herurgentneed forsafety. Still,Jane atlempted to work thingsout.
        93.AsfarasJane lm ow s,Dr.Pridestillbelievesshelefttheintem ship siteofherownfree
     * 11.
        94.Because Janewould haveto be supervisedby Dr.Pride,shewasforced to file additional
     arade apnealsin orderto feelshecould havean em oéonally safeplaceto continueinternship. A
     second issueisthatthe agreementalso required 100% ofsessionsto betaped. Tlliswas
     problem aticbecausethiswould be impossibleatm any sites,such asthe drug and alcoholcenter
     in thetown Janelived in.
        95.Concurrently,after six yearsofteaching U ndergraduate Psychology every 8 w eelks,
     suddenly Janewasnotgiven any m ore classesto teach. Thetiming oflosing incom easan

     Adjunctappearstosubstanéateretaliation.
        96.Dr.M oitinho appealdetailshere.N otethatJaneagain cited standardsthatthesitehad
     notm etathistim efrom otherbestpracticesorguidelines. Onceagain,shewasgiven no specisc

     answerandthesubjectwasnotaddressed.
        97.In em ailwith Dr.Sosin in oraroundJune2016,Dr.Sosin suggestedthatiftherewasany
     harsh treatm entatthesiteJaneshould orcould reportittothelicensing board.
        98.ltappearsthatatno pointdid Dr.Sosin orDr.Pridetakeinto accounttheharsh treatment
     Janestated had occurred atJane'stirstintem ship site.Instead,everything thesite supervisors


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                                                                 D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 43 of 65 Pageid#: 43

                                                                                  Page 43 of65


 stated w asaccepted astrue-a violation by L iberty faculty ofsection F of theA m erican
 CounselingAssociation'sethicscode.
    99.      Asaresultand becauseDr.Sosinhad alwaysappearedtobeaperson ofhigh
 m oralcharacter,Janetriedto startaconversation with Dr.Sosin aboutthestandardsthathad
 been ignoredby faculty atLiberty University. Thiswasagain ignored.
    100.       Instead,D r.M yers asked Jane ifshew asSdsure''these things had occurred,
 asthey w ere serious accusations. ThisleftJane unable to find a good answ er as of course
 she w ould nothave m ade the accusations ifthere w ere any doubts.
    101.       Retaliation appearstohaveconénued in the Summ erof2016 when Jane notised
 Dr.Sosin thatshewasspeaking to TitleIX with intentto fileacom plaintwith theTitleIX oY ce
 ofLibçrty University.
    102.       Brittany W ardlaw ofLibertyUniversity TitleIX spoketoJaneon thephone on
 oneortwo occasionsin thesummerof2016.Brittany W ardlaw statedthatTitleIX did notapply
 sincewhatoccurred offcampus.
    103.       ThisisincorrectbecauseTitle IX states:

        Coverededucationalprogram oractivity(p.48)-tûitiswellestablishedthatthecovered
        education program oractivity encompassesalloftheeducaéonalinstim tion'soperations
        including,butnotlimited to,<% aditionaleducationaloperaéons,faculty and student
        housing,campusshuttlebusservice,cam pusrestaurants,thebookstore,and other
        com mercialactiviées.''
        <çlftherecipientdoeshaveeducation asitsprimary purpose,such ascolleges,
        universities,schooldistlicts,training instim tes,and academies,then thefederalfunds

        resultininstimtion-widecoverage.'' (p.53)
        Q'Itisafamiliarprincipleofstatutory construction thatcourtsshouldgive eFect,if
        possible,to every wordthatCongresshasused in a statute.''



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                                                              Doev.LibertyUniversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 44 of 65 Pageid#: 44

                                                                                   Page44 of65

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                .

    104.       Doevs.M ercy,in 2016 and 2017,makesitclearthatTitleIX appliesto a11
 educationalactivities,even interngléps,even when internshipsarenm by ahospital.

    105.       BrittanyW ardlaw then sentJahetoEEOC,whichdidnotevenhavejurisdiction.
 SinceBrittany W ardlaw wassupposed to bean expertatTitle 1X,itisbelieved shew ould
 know when som ething should or could gotoEEOC.
    106.       During thistim eperiod Jane'sthen m inorchild continued to bein extrem is.
    107.       Sincethe departmentand Title IX wereunwilling orunableto address,oreven
 acknow ledgewhathad happened atthe internship site,Janereached outto otherofficeswithin
 LibertyUniversity.
    108.       Janeattempted toreportthesituaéon to the ox ce ofdisabilitiesin the Summ erof
 2016.Theattem ptw asunsuccessfulasJanewasnotallowedto filea grievancebecauseher
 superdsoratthe internship siteperceived thatJanehad adisability.Janeevenwhen 9hesentthe
 relevantsections,verbàtim,oftheCodeofFederalRegulationstotheDisabilitiesoffice at
 LibertyUniversity,butthe departm entséllrefused to allow Janeto filea complaint.

 ReportsofIllegalActivitiesto personnelatLiberty University

    109.       Janeinitially attempted to reportillegalactivity toLiberty University in Sum mer
 2016.JaneattemjtedtoreportthatthesitewasbreakingtheCodeofFederalRegulationsas
 described above and thatLiberty wouldnothelp Janeleavethesite.Later?Jane included the
 Ading Dean ofthe SchoolofBçhavioralSciences,Dr.W arren,in Fall2016.
    110.       Janewastoldby arepresentafve.ofLibertyU niversity'sLegalCounselthat
 studentscould notrepol illegalactivities.
    111.       Atno ;me didLiberty University even ask which portion oftheCode ofFederal
 RegulationsJanewasreferring to.
    112.       JaneemailedLiberty University faculty on atleastoneoccasion in the summ erof
 2016thatshefeltunsaferemrning to theinternship undertheseconditions,and thatsheneeded

 additionalsttpportduetothetraumaoftheincidents.Typically,a11studentsare#vensuppolt
                                                          COO LAN
                                                              Doev.LibertyUniversity etal.
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Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 45 of 65 Pageid#: 45

                                                                                  Page 45 of65



 asJanewasgivenin herpreviouspracticum throughD r.Jenkins.Thisdid nothappen-another
 ethicsviolation.
    l13.       Janefeltthatifanythinguntow ard wereto ocouratanintem ship site,shewould
 beunprotected. M oreover,sinceJanehad notreceived dueprocessinthepreviouscom plaint,
 Janefeared shewould beillegally expelled in an arbitrary and capriciousmanner.
               Janeattemptedto contactDr.Deacon sinceDr.D eacon wasCACREP coordinator
 atLiberty University. Liberty University had already received CACREP accreditaéon forone
 graduatecounseling programm ing andwasworking on gettingtheprogram Janew asin
 accreditedby CACREP aswell.
               Janebelievedthatthesituationthathad occurred wasan egregiouslack of
 following theACA 2014 codeofethicspthesyllabusandthecourse manual.
    116.       AsCACREP coordinatorforLiberty University,JanebelievedDr.Deacon would
 appreciatethe seriousnessofthese allegationsand rightthesituation.Janebelievedthatifthese
 issueswerenotaddressed,itw asunlikely CACREP accreditation could occurand/orbe
 sustained overtim e.lnitialrequestswerem etwith silence.
               W hen Dr.D eacon Gnally answered,Jane'srequestsforsupportwerenoteven
 acknowledged. Therewasonly strictconcern thatevery detailoftherem ediaéon planbe
 followedgqandthatDr.Deaconneededtospeaktothosewhomadetheremediationplaninorder
 tounderstandit.

    ll8.       JanewastoldthatamistakecouldnothavebeenmadeE).
               Dr.Deacon thenbecam ehernew internship supervisoratLiberty University.
    120.       Janebeganhersecondinternship asan intern forW in4Life,underthe site
 supervisor,on oraround lateAugustorearly September2016.Jane startedtheinternship attlzis
 pointonly becausepapelw ork from Dr.Sosin and Dr.Prideallowed only Summ erorFall2016
 asthe datesto re-startinternship.
               Janewasundersevereand unreasonablestressduetotheseveretraumathathad
 occurred,DefendantLiberty'srefusalto addresstheissuesatherpreviousintenzship site,and
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                                                            Doev.LibertyU niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 46 of 65 Pageid#: 46

                                                                              Page46 of65



 DefendantLiberty'sconstantly bringing up thenegativeanduntruthfulcomm entsm adeby the
 previoussupervisors. Thisconstantstling ofuntruecomm entswasyetanotherconstant
 reminderofthetraumafc eventsthathad occurred.
    122.      Janespentthemonth ofSeptemberpaswellasaweek before the sem esterstarted,
 workingwith herexternalsupervisorto rebuild shattered self-confdence- confidencethathad
 been shattered by the previousinternship site and Liberty's poor response.
    123.      ln mid-septemberJanesubm itted a quarterly sum mary from herexternal
 supervisor,toDr.D eacon. Janecc'ed herexternalsupervisoron theemail.DespiteJane's
 externalsupervisorhaving been cc'ed on theem ailJane'sexternalsupervisortold JaneDr.
 Deacon had contacted herto ensurethattheevaluation had really written whatshehadwritten.
 Itseem sthatsinc:Janehad received avery good evaluation from herexlernalsupervisor,Dr.
 Deacon imm ediatelv iumped to theconclusion thattheevaluation wasfake.
    124.      Around 29 September2016,Janeand herfamily becam eembroiled in aSocial
 Service'scase dueto herchild'sm entaldisorder.Thisraisedthe severeandunreasonable stress
 levelevenhigher.Thiscasewassimilarto,butlessseverethan,anotherlocalcasejustbeen
 resolvedE.Jane'syoungestchildisjustnow beginningtogetoverthefearsshehadbecause
 apparently SocialServicesasked herifshewanted anew family.The severe acting outthat
 occurred dueto thefearthisengendered in heryoungerchild1edtotwo psych-related
 Emergency Room visitseven aslateasFall2018.

    125.      ThisrequiredJanetobeasudden singleparent,working30hoursaweek taking
 childrento2ormorepsychologicalappointmentsaweek,jugglingtheveryrealpossibility she
 would haveto separatefrom herhusband,attem pting to keepherolderchild from being forcibly
 ldssed in PublicSchool,andfinding outheroldestchild hadbeen m olested atasumm ercamp in
 2015.



 .hlos://- .postandcouier.coe news/sc-toddler-remrned-to-parents-after-l
                                                                       'udqe-inds-no-
 m erit/article 31736a7a-258e-11e9-91 9-1f578600f460.11tm 1
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                                                           D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 47 of 65 Pageid#: 47
                                                                                 Page 47 of65



    126.       D r.D eacon didknow abputseveraloftheintensestressesJanem ostparticularly
aboutthe stressshewasunderduetothe abuseatthepreviousintem ship site.
    127.       Aspartofputting togetherafinalgradeappealtoD eanW arren,Janealso
attem pted to notify theActingD ean ofthe SchoolofBehavioralSciences,Dr.W arren,inFall
2016.
    128.       Oneorm oreLiberty faculty memberiiled am apdatedrepol'twiththeLU police

 departmentasJanehadjustfoundoutherchildhadbeenmolestedatsummercamparound 18
 monthspreviously.
    129.       Papem orkfrom theLU polioedepartm entstatethatJane seem ed m oreconcem ed
 aboutgettinghelp with internship thanwith the situation wit,hherdaughter.
    130.       ThiswasnaturalbecauseJanewasalreadyjugglingthesituationwithher
 daughterand had aplan forward,whileJane stilldid notknow how toreportthecrime,or
 potentialcrim e,thathadoccurredpreviously atherinternship site so sheaskedthepolice
 depm ment.
    131.       Dr.W an'
                      en and/orotherLiberty individualsapparently reported thisbecause of
 DefendantLiberty had madethem mandatedreporters.Thus,the failure ofLiberty em ployees
 to even Flle a reportas m andated reportersuntilSum m er 2018 - around two and a half
 yearsIater - is inexcusable.
    132.       In violation ofLU policy,D r.D eacon did notallow Jane to w ithdraw from
 the course.
               Instead,Janewasgiven shortly thereafter,aletterofconcern,em ailedby
 administrativepersonnelon D ecem ber5'
                                      h,2016 butdated intem ally asDecem ber6*,2016,
 stating thatitleadership''wasconcem ed she did nothaveenough Kiem otionalregulation''.
               W hen Jane attemptedto speakto Dr.Sosin viaem ailaboutseveraluntruthsin the
 email,shewasnotallowed to listtheuntlm hs,butinstead told only to rettzl'
                                                                         n to internship.One
 oftheissuesthatJanewanted to clarify with ttleadership7',butwasnotallowed to,wasthat


                                                         COM PLM NT
                                                              Doev.LibertyUniversity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 48 of 65 Pageid#: 48
                                                                                  Page48 of65



 leadersllip ofthe SchoolofCounselorEducatîon stated shewasdonehergrade appealswhen she
 wasnot.
    135.       Accordingly,Janeforfeited herfinalgradeappeal- which seem ed to bethelast
 possibleplaceto reportabuse- dueto theintim idation inherentin theletterofç'concern''.
    136.       M any timesoverthepast2.5years,Janehasasked forthe lack ofsafety/abuseto
 beaddressed.H owever,iftheem ailw asretum ed,itwould talk only aboutthegradeappeals.
               Janealso forfeitedthei&generalcomplaint''thatshehad sentthroughtheStudent
 Advocate'softlcethatday,asshebelieved shewouldbeexpelledifshecontinued it.
    138.       W hen thestudentadvocate asked herifshe metto cancelthe generalcomplaint
 Janestated shehad cancelled itdueto thedepar% ent'sKtletlerofconcenf'.Janeprayedthatthe
 studentadvocatewould takethecomplaintto hersupervisors,butapparently theSm dent
 Advocate did not.Note:Janebelievesthatshestated in theletterthatshehadwithdrawn the
 complaintdueto retaliation from thedepartm entbutmustcheck heremailto be sure.
    139.       Concurrently to asldng forawithdraw around November24*,2016,Jane emailed
 Dr.Prideto doublecheck thatitwasperm issibleto begintogetadditionalhoursin apartnership
 between W inzi ifeand ShieldM inistries,ofCharleston,SC.Dr.Pride did notchooseto answer
 foraroundten days;nevertheless,Janebelieved shewasw ithin boundsofhisemailofearly
 Decemberaswellaspreviouscommunicatesfrom Spring 2016.
    140.       Jane and hersitesupervisormetwith Shield M inistriesandDavid Truluck of
 ShieldM inistrieswho verbally agreedto thispartnership.
    141.       Anotherexampleofretaliation thatoccurred atthistimeisthatD r.Sosin told the
 Bureau ofPersonnellnspectorGeneralthatJanehad notreported abuseatthe sitein Charleston
 untilaftersheleftthesite.Additionally,Dr.Sosin reportedthateverythingattheIsitelwas
 done according to the syllabus,m anualand currentstandards. N ote thatabove listsm any
 standardsthatw ere notm et by the site and indeed,notm etby Liberty U niversity
 personnel,including D r.Sosin. Itappearsthiskeptthe Inspector G eneralom ce from
 doing a com plete investigation.
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                                                                D oe v.Liberty U niversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 49 of 65 Pageid#: 49

                                                                                    Page49 of65


    142.       Ste ng in early January 2017,Janeinsisted on geë ng everytbing in writing from
 ShieldM inistrieseventhough hersite superdsordid notbelieveitto be necessary Shew as
                                                                                .



 unableto getcooperation from David Truluck inthisendeavor.
    143.       Subsequently,Jane discoveredD avid Truluck wason theregistered sex offender
 listin South Carolina. Shealso found David Tm luck to be extremely erratic.
                                                                           ' Thisbehaviorhas
                                                '                                   ,

 alsù been documented toLiberty by others,such asJane'ssite supervisoraswellasalicensed
 professionalcounselorwho isaFaculty EmeritusatClem son University.g
    144.       W hen Jane'sextem alsupervisorand JanenotiGedD r.D eacon ofLiberty
 University thatthepaM ership between W inzi ifeand Shield M irlistrieswasbeing dissolved due
 to multipleissues,Dr.Deacon began im m ediately to investigateJane,notthe site. She
 quickly cametotheconclusion thatJanehadan 'Kunauthorized intem ship site''>tookthe situation
 to Dr.Sosin,and gaveJane,an F - and expulsion,withouteven speaking toJane'ssite
 supervisorr
    145.       Taneremained confusedbecausetherewereNO definitionsorexamplesin the
 m anualsthatwouldm akeitseem thatcounseling throughW in4Life atShield M inistrieswasan
 uunauthorized intem ship site''and asfarasshe could tellshehad followedD r.Pride'sguidance.
 Janewrotethisem ailtoDr.Pride asaCYA so thatDr.Pridecould explicitly confirm wasbeing
 notifed ofthe sim ation aswellas
 EXAU LES OF RETATM H ON FOR A TTEM PTG G TO Fm E A TITLE IX REPORT
     146.      Jane believes thisw as an exam ple of retaliation for Janessattem ptto flle a
 TitleW complaint.Otherretaliation seem stohaveoccurred in2018 and 2019 aswell.
               Subsequently DefendantLiberty changed coursem anualto clarify thatcounseling
 Withinthe sam einternship,atadifferentsite,alsorequiresapproval.Ifthishad been written at
 the tim e Jane took this course,she w ould never have counseled atShield M inistriesw ithout
 hearing from D efendantPride.


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                                                             Doev.Liberty University eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 50 of 65 Pageid#: 50

                                                                                 Page 50 of65


    148.       Currently theTitleIX om ce hasnoteven acknowledged receiptofJane's
 attem ptto reopen the Title IX case in February 2019,even though Jane w as told by the
 Title IX om ce thatshe could reopen the com plaintRatany tim e''.
    149.       lttook approximately 3 weeksforJane'ssitesupervisorto even getin touch
 withD r.PrideatLiberty University becauseapparently hewould notansw erhercallsoremails.
 Atthatpoint,Dr.Deacon spoketo Jane'ssite supervisor.
    150.       Itappeared in arecordedm eeting withfaculty in IateM arch,2017,thatfaculty
 did notbelieveJanehad been abused atthe internship site;the audiotape isstilltoo painful
 for JanetoIisten to.W hen astatem entwasm adeon the audio staéng Janesaid shehadn'tsaid
 shehadbeen abuseduntilaftershew asgiven a C,Jane stated thatshethoughttheemailsshehad
 senthad beeh clear.
               Anothertim ethatspring,Dr.Sosin told Janenotto botherwith an appeal
 because a decision had already been m ade.However,when Jane stated shehadnoteven been
 ableto presentevidence- such asem ailsaboutthepartnership with David Truluck - shewas
 toldto includeitin the appeal.
               Thelasttime she re-sentone an em ailto Dr.Sosin because itappeared theem ail
 had accidentally been sentonly toD r.Pride,Janereceived allemailfrom theProvoststating a11
 academicappealswereover.
    153.       Onceagain,itappearedthatan academ ic appealwastheonly way to report
 abuseatLiberty.
 SAU LE I'RREGULARITIES IN LD ERW 'S RESPON SES TO SARAH 'S APPEAT,S.

               Duringtlzisperiod,academ icappealsconénued slowly.Jane'schild was
 sexually assaulted in M ay 2017,but she w as not allow ed additionaltim e to prepare the
 appeal,even asherchild wasin thementalhospitaltwice in six weeks.
    155.       Incorrectand misleading statementsweremadeon appealreplies,such asthat
 Janehadbeen tidismissed''from an intem ship siteby David Truluck,when acm ally,Jane and
 Jane'sexternalsupervisorhad dissolved thepartnersllip.David Truluck stated thattherewasno
                                                         COM PLM NT
                                                              Doev.Liberty Urliversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 51 of 65 Pageid#: 51

                                                                                Page 51of65



 pm nership andLU faculty took thisastruth,ratherth= believing,oreven contacéng,Jane's
 sitesupervisor.
    156.      In 2018,LibertyUniversitytook aroundten daysto even look atJane'sTitleIX
 complaint.They then asked along listofquestionsto Jane. W hen Janestated sheneededm ore
 tim edueto herhusband'shospitalization and/orsurgery thatday than theTitle IX officewanted
 to provide,i.e.,som ewherearound 2 weeks,DefendantLD ERTY closed thecom plaintandtold
 Janeshecould re-open itlater- which did notoccur.
    157.      An individualwhow asorisaTitleIX oY ce employeenoéfied theProvostthat
 Janewasconsideling subm ië ng a complaint an intimidatingviolation ofoonfdentiality and an
 example ofdefam ation in Sum m er 2018. Thisperson nevertold methey spoketotheProvost
 butinstead waited fortheProvostto inform m e ofthis.
    158.      Liberty Universityw ould only allow Janeto em ailwith anunnam ed lnvestigator;
 talking with theinvestigator,forinstance,by phonewasnotallowed. Liberty'spoliciesallow a      ,
 reporttobemadeorally aswell. Thiswasan additionalfactorthatmade itvery hard to subm ita
 complaintasdescribingtraum atic experienceson papercanbealmostim possible asitisoverly
 traumatic.
    159.       Janelastappealedto Jerry FalwellofLiberty University on oraroundOctober26,
 2018,notifying him thatattemptsto fileaTitleIX complaintwith Liberty University in 2016
 and2018hadbeen unsuccessful. Janem ade surethatsheincluded thelack ofsafety in her
 em ailstoDr.Falw ellandto DavidCon'y,generalcounsel.
 W R ISTLEBLOW G G CONCERNS
    160.       In thefallof2018,Liberty University'swhistleblowing officerefused to address
 theseissueswhenthey werealerted.Instead,they choseto send Janeback toal1theplacesIhad
 already gone,such asTitle1X,disabilitiesoftice,etc.W hen Janestated shehad already done a11
 ofthosethings,andthatwaswhy Janethoughtthiswaswhistleblowing case she received no




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                                                             D oev.Liberty University eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 52 of 65 Pageid#: 52

                                                                                   Page 52 of65


 reply.Ifthewhistleblow ing oo ceisonly goingto refersm dentsback to already existing
 resources,then thewhistleblowing om ceisnotatruewhistleblow ing ox ce.

    161.       Acùordingtoanemailreceivedb# Jane,thewhistleblowingom cedoesnot
 intendtoaidresswhistleblowingconcerns.Instead,theofïice
                                                       'directsstudentstoreasonable
 resources- which Jane'had already visited.
    162.       According toFERPA docum entation receivedin 2019,thewhistleblowing office
 prom ised Jane confidentiality w hile im m ediately sending her em ailto the Liberty
 A dm inistration.
    163.       ln 2018,shew astoldby theTitleIX offcethattherecord statedthatshehad not
 completed,subm itting hercomplaintin 2016.Janereceivedlittleresponsewhen shesentthem
 back emailsto thecontrary. Itbegan tofeelvery unsfetoreportto adepnrtmentthathad not
 helped previously - and atthispointw ould noteven 1etherknow thenam eoftheLiberty
 employee shewasem ailing with.

 SUM M ARY OF THE CA SE FACTOWS
    164.       ln summ ary,when Janereported a situaéon with an abusive intem ship supervisor
 athersite.Liberty did notrespond,even though m andated reportersw ere noéfied multiple
 times.Thisexposedhertofurtherabuseatherinternship site,increasingherfearandsubjective
 feeling ofsafety atherinternship site.
                                      'Thisalso IeftJanewondering ifshereturned to
 iniernship inthefuture,ifshewould beprotected orifshewouldfaceahostileeducational
 environm eptfrom Liberty faculty.Finally,Japequitthe siteto preserveherphysicaland
 m entalhealth and to preservewhatwasleftofherprofessionalcompetency and to spend
 additionaltim ewith fam ily,and a daughterin exlremis,which couldnotoccurduetoLiberty's
 inaction.
     165.       Liberty University refused toinvestigate,sending heraroundin circlestmtilshe
 arrivedback atthesamexoftscethathad already nothelped.Attemptsto subm itaTitleIX
 inveségaéon in thesumm erof2016 resulted in retaliation.Jane attempted to reportthe


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                                                              D 0eV.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 53 of 65 Pageid#: 53
                                                                                    Page 53 of65



.   retaliationto Liberty in 2018,butwashampered by Liberty'srefusalto communicate orally with
    Janeinstead ofviaem ail. Thiswasaviolation ofLiberty'spolicy.Jane'sexperiencewas
    constantly minim izedby Liberty faculty,who werenotified multipletimesthatJanefeltunsafe
    returning to internship.
       166.       Liberty then choseto expelJanebased on theword ofan individualwho Jane's
    externalsupervisorhad previously described asRerratic.'' Janewasnoteven allowed topresent
    hercasebeforethe expulsion occurred.Appealsw ereconstantly m arked by new information,
    infonnation used thathad been created up to 5vemonthsaftertheexpulsion,andintbnnation or
    allegationspreviously unknown to Jane,asshewasnoteven given alistofallegations. Thus,
    some allegations,and somedisclimination,werenoteven known untilJanefiled aFERPA
    requestin 2019.'l'heextrem etaum aofthissim ation from Fall2015tothe present1edto
    physicaland em otionaldiffculties,increased thedix cultiesin thefamily dealing with a
    disabledchild...
       167.       LD ERTY 'STitle IX refusedto processJane'sTitleIX complaint,in 2016,2018,

        or2019.

        168.       Janewasretaliated againstforsubm itting aTitleIX com plaint.
                   Janeattemptedto resubmitcom plaintin Summ er2018 only to discoverthe
    docum entation TitleIX keptdiffered from theemailsshehad received from TitleIX in2016.
        170.      Em ailsshowingLU decidednotto talk to her.
                   Janeattem pted to resubmitherTitleIX Complaintin February 2019,butthisw as
    ignored.
        172.       LD ERTY CES faculty abusedpow erand authority and may even beclim inal
    behavior.
                   LD ERTY CESutilized aflawed rem ediation process,litlered withblatant
    proceduraland substantivedueprocessthateven includedblatantuntnzths.
        174.       LIBERTY CES disregarded itsown written processesand procedures.

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                                                                Doev.Liberty University eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 54 of 65 Pageid#: 54
                                                                                Page 54 of65



                LD ERTY CES ignoreda student'sattem ptsto reportillegal/violationsofthe
 Code ofFederalRegulations.
    176.        TheconductofLD ER'
                                 I'
                                  Y CESisso brazen,pervasive,and intentionalthatit
 evidencesaclimateand cultureofsystemicincompetencewithin LD ERTY'Sentire Schoolof

 BehavioralSciences(SBS),tothedetrimentofstudentsandtheirclientsbothnow andinthe
 future.
    177.        The conductofLIBERTY CES isbrazen,pervasive,and intentional.CES
 Faculty did notrecognizesignsofkaum a,eventhough m any had advanced trainingin trauma
 and a11Faculty hadatleastsometraining in taum a.M andated reportersdid notsend reportsof
 evrntsthatoccurredin January andFebrualy 2016 untilSummer2018.
    178.        LD ERTY CES faculty failedto follow thewritten policiesand procçduresthat
 had been written by the CES department.
    179.        BeyondtheCES faculty,Liberty employeesappearto nothavefollow edLiberty's
 proceduresin multipledepartm ents.
    180.        Itsattaclts on Jane constitute harassm ent,defam ation#erse,negligence,
 intentionalinnection ofem otionaldistress,and retaliation for the exercise ofllrst
 am endm entrightsthatLIBERTV had preserved foritsstudents. Thisintentional,deliberate
 andm aliciousconspiracy retaliated againstJaneatevery tul'n toharm Janepersonally and
 professionally aswellasharm ing Jane'sfam ily.
    181.        Liberty'sattackson Janewere arbitrary and capricious,asJanewasnotallowed
 topresentevidenceto therem ediation committeeand did noteven receivealistofthe
 allegationsagainstherso thp,
                            tJane could prepareevidenceproperly.CaseIaw showsthat
 disciplinary actions,involving expulsion,require m uch m ore due process than ttacadem ic''
 actions.
     182.       Told notto botherappealing asthedepartmenthad madeup itsm ind - andtold to
 putdocum entsDr.Deacon hadhurried by in the appeal- which they had said would notbe
 listened to.
                                                        C OO LM N T
                                                             D oe v.Liberty U niversity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 55 of 65 Pageid#: 55

                                                                                 Page 55 of65



    183.       ln addition ittook fivem onthsforDr.Deacon to even preparea survey ofJane's

 counselingabilities.Thus,Dr.Deacon wascreatingartifactstojustifydecisionsshehad
 previously m ade.Dr.D eacon markedJane'sskillsm arkedly low erthan Jane'sextem al
 supervisorhad on two occasions. Thisisevidenceofbiasaswell asretaliation for
 attem pting to file a com plaintw ith Title IX.
    184.       LIBER T Y C ES'Sactionsin this case are a ilagrantviolation,intentionaland
 system ic violation ofthe Janes's rights in egregiousviolation ofLD ER IN 'S ow n policies
 and procedures,going back over three years.
    1B5.       An inoidentreportwasputinthe system regarding Jane.However,Janewas
 nevernotised ofthis,and did notknow abouttheexistence oftheincidentreportuntilFebruary
 2019,when itappeared in thedocum entsJanehad requested viaFERPA. Janestillhasnot
 received acopy oftheincidentreport.Liberty'sCES seem sto comm only utilize secret
 rem ediation m eetings,createsno notesoreven specisc allegationsfrom remediation m eetings,
 andutilizesreportswlitten fterthefact(suchasbyDr.Deacon)tosubstanéatethegrade
    186.       LD ERTY CES hasadded additionaldocum entation to itsnew estinternslaip
 m anual,which ifithad existed in previousm anualswould havem adeitclearthatthe student
 wasunauthorizedto work atthe sam esite ata differentaddress.
    187.       LY ERTY CES,dueto i11* 11,m alice,willfularrogance evincesacom plete
 inability to identify acmalproblematic studentbehaviororto addressproblem aticfaculty
 behavior,aswellasextrem ely selective application ofthe ''rem ediation''process.Thissystemic
 inability by LY ERTY CES faculty to adheretoitsown wlitten policiesisproblem aticbased on

 ethicalconcerns(AmericanCounseling Association2014 codeofethics)aswellasstandards
 required foraccreditation boards,such as....
     188.       Thewritten record substanéatesasystem ic pattern ofgrossnegligenceon thepart
 ofLiberty University faculty.




                                                         C OM PLAIN T
                                                               D oev.Liberty University eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 56 of 65 Pageid#: 56
                                                                                   Page 56 of65



                                         DAM A GES
                                           CO U N T I
                          DEFENDANT LIBERW UNW ERSIW

             AM ERICANSW l'l'
                            l'lDISABILITY SACT (1990)asamended(2008)

                      AssociationalDiscrimination& disabilityofseI9
    189.       Theforegoing allegaéonsareincorporated herein by reference.
    190.       AsaresultofLiberty'sinaction,Janehad a disability from thetraum athathad
 occurredaswellasadditionaltraum adueto Liberty'scontinuinglack ofbasic considerationto
 thestudent'spointofview .
               Previously,in 2016,theDisability oc ce atLiberty University had refused to
 allow Janeto file acom plaint.
    192.       LD ERTY CES itselfcreatedtlzishostile educationalenvironmentasdetailed
 above.
    193.       LIBERTY discriminated againstJaneforhaving adisabled child.

                                          C O UN T H

 V iolation ofTitleIX ofthe Education A m endm enl of 1972 as am ended by the C ivilR ights

                                  Act,20U.S.C.j1681etseq.
    194.       Theforegoing allegaéonsare incorporatedherein by reference.
    195.     TitleIX oftheEducationActAmendmentof1972,20U.S.C.j1681(a)(1988),
 alsoknownast'TitlelX>77providesinrelevantpartf'lnlopersonintheUnitedStatesshall,onthe
 basisofsex beexcludedfrom participationin,bedeniedthebenefitsof,orbesubjectedto
 discrim ination underany education progrnm oractivity receiving federalassistance.''
    196.       TitleIX isenforceablethrough an im plied rightofaction affording an individual
 discrimination dueto hisorhergenderpecuniary damagesand equitablerelief.Retaliation


                                                          COO LM NT
                                                              D oe v.Liberty U niversity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 57 of 65 Pageid#: 57

                                                                                      Page57 of65


          197.     LD FA TY receivesfederalfunding in variousforms,including,butnotlimited to
 federalsmdentloans.LIBER'I-Y hasdiscrim inated againstJane, on the basisofhersex,tlzrough
 itsdiscriminatory,inequitableimplementation ofLm ERTY'Srem ediation processagainstJane.

 ThissubjectedJanetodifferentrulesthanthoseofhermaleclassmates.
          198.     LY ERTY hasretaliated againstJane forsubm ission ofaTitleIX complaint.
          199.     In disciplinaryproceedings,theUniversity mustprovide afairand equitable
 process- notonethatisarbitrary and capricious- fortheaccused and Kçm ustformulate,interpret
 and apply itsrulesso astoprotectacadem icfreedom and freespeech rights.''Additionally K&in
 both public and privateschools,additionalorseparate rightsmay becreated for...studentsby
      instittztionalregulationsand policies,such as ...studenthandbooks...'7 ttM breover,in
 .. . .



 regulatingthe conductofitsstudentsand faculty topreventorredressdiscrim ination proilibited

 byTitleIX (e.g.,respondingtoharassmentthatissuY ciently seliousastocreateahostile
 environment),aschoolmustformulate,interpretandapplyitsrulessoastoprotectacademic
 freedom and freespeech rights.''See
 hhps://-
 '               z.ed.qov/abouvofsces/lisvocr/docs/sha ide.htm l.
          200.     LY ERTY CES itselfcreatethishostile educationalenvironmentasdetailed
 above.

          201.     A universityviolatesTitleIX regulationswhenitsubjectsstudentsK&toseparateor
 differentmlesorbehavior,sanctionsorothertreatment...''(C.F.R.1211.40O(b)(4)..
          202.     TheaboveeventsevidencethatJane,afemalestudentpw astreated differently,to
 herdetriment,on multipleoccasions.
          203.     LD ERTY furtherviolated TitleIX by failing to accordJanetheopportunity to
 com pletesubm ission ofaTitleIX casétllrough itsTitleIX office.
          204.     LD ERTY flm herviolated TitleIX by failing to accord Janetheopportunity to
 respond totheallegationsthatsupposedly 1ed to herrem ediation andto herousterfrom the
 LD ERY CES program .


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                                                                   Doev.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 58 of 65 Pageid#: 58

                                                                              page 58 of65



    205.      LY ERTY violated TitleIX by notkeeping a TitleIX com plaintconfdentialand
 indeed by sending an emailto alertoneofthedefendantsthata casewasbrewing.
    206.      LD ERTY violated TitleIX by noteven givingJaneasumm aly oftheallegations
 againsthersothatshe couldprepare asufficientdefense.
    207.      LY ERTY violated TitleIX by notallowing Janeto presenthercasein personto
 Dr.M oitinho on two occasions,asw ellasto Dr.Boatner,and Dr.M yers.
    208.      LD ERTY did noteven follow thepreponderanceofevidencestandard on
 multipleoccasions,yettook no correctiveaction.Given thepowerdiFerentialbetween Janeand
 heraccusers,LIBERTY should have atminimum used theK'clearand convincing';standard of
 proofto mitigate atleastto som eextentthelack ofdue process. SeeBrandeis,supra.
    209.      Janefiled aFERPA requestfora11records- quotehere- yetdidnotreceive al1
 records.Citeafew caseshere.
    210.      The outcom eoftheEKlkem ediation''processwasfundam entally tlawed aswellas

 clearly erroneous,arbitraryandcapricious.LD ERTY wasonnotice(supply documentation)
 aboutmany proceduralirregulalitiesyetrefused to correctthem .Thisseveredenialofdue
 process-pervasiveand objective- deniedJaneequalaccesstoeducationasTitleIX guarantees.
                                       CO U N T III

                                    B reach ofcontract

    211.      Theforegoing allegationsareincorporated herein by reference.
    212.      Plaintiffintendsto show thatatal1tim esrelevanthereto,acontractual
 relationship existed between LD ERTY and JanethroughLIBERTY'S2016-2017 PhD CES

 (KKCESHandbook'')andHonorCode.
    213.      Thoughthishonorablecourthasdismissed sim ilarclaim sinvolving LD ERTY in

 thepast(i.e.,CameronJackson v.Liberty University etal.,Case6:1%cv-00041-NK&1-RSB),this
 caseisuniqueand distinguishable.


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Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 59 of 65 Pageid#: 59

                                                                                   Page 59 of65


    214.      ThePhD CES program Janewasenrolled untilSpring 2017 had already started
 theprocessofaccreditaion. Theprocesswasstarted by the subm ission ofthe self-study.The
 application forAccreditation underthe2016 Standards,available atCACREP.org,requiresthe
 organization to abideby allCACREP standards,starting withwhentheself-study wassubmitted:

              Q'TOinsure the integrity ofthisprocess,itisimperativethatprofessionalconduct
              be exemplified in the application and self-study m atelialssubmitted to
              CACREP....Fortheprocesstobeefrectiveandfair,itmustfollow the
              established review proceduresandtheinformation submitted during thereview
              processmustbebased on clearstatementsand docum entation describing how the
              program operates.Theself-study narraéveand supporting evidencemustnot
              m isrepresenttheprogram by implying resourcesorany levelofstrengthsthat
               exceedtheprogram 'slevelofoperation.''


       Furtherm ore,in policiescoveringthepre-application and applicaéon review stageson
       CACREP'Swebsite,standard 1.a.Integrity ofprocess,repeatsvirtually the sam ewording,
       furtherunderlining the importanceoftllisstandard.
       Finally,according to CACREP.org'slisting ofCACREP accredited program s,graduates
       areretroactively ableto statethey atlended aCACREP program ifthey graduatedafter
       July 12,2016,with sitevisitSeptember2017 according toLiberty's2017-2018Annual
       AnnualReport2016-17 Assessm entCycleData              :https://www.libertv.edu/behavioral-
       sciences/counselor-ed/wp-content/uploads/sites/lg/zol8/lz/s.l CES 2017-
       18 AnnualReport.pdf).
    215.       SinceDr.Deacon isthesite coordinatorforCACREP andDr.Pride and Dr.Sosin
 arepartoftheleadership team,al1ofthem musthaveseen theserequirementsand thushad
 knowledgethatthey w erebindingLiberty andthem selvestotheserequirem ents.



                                                           C OW LU T
                                                                Doev.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 60 of 65 Pageid#: 60
                                                                                    Page 60 of65



    216.       Thisagreementisbinding on Liberty becausewithouthaving signed thispolicy,
 Liberty would nothavethisaccreditafon.
    217.       CACREP thusrequiresthatLiberty strictly abideby theUniversity'sow nwritten
 policies. Specifcally,Section 1.N oftheSection AcademicU nitofCACREP'S document:

       t'Thestudenthr dbookincludes(1)themissionstatementoftheacademictmitandprogram
       objectives,(2)infonuationaboutprofessionalcounselingorganizations,opportunitiesfor
       professionalinvolvement,andactivitiesappropriateforstudents,(3)matriculation
       requirements,(4)expectationsofsmdents,(5)academicappealpolicy,(6)written
       endorsementpolicy explainingtheprocedtlresforrecommending studentsforcredentialing

       andemployment,and(7)policyforstudentretention,remediation,anddismissalfrom the
       program .
       Counseloreducationprogrnm shaveandfollow apolicy forsm dentretention,rem ediation,
       and dism issal9om the progrnm consistentwitllinstitutionaldue processpolicies and w1t.
                                                                                            11the
       counseling profession's ethicalcodesand standardsofpracéce.'L
    218.       Furthermore,asaPhD CES student,Janehad reason tobelievethatDr.Deacon,
 Dr.Plide and Dr.Sosin would follow the due processrequiredby theHandbook.
    219.       TheCodeofVirginia j55-22KKAnimmediateestateorinterestinorthebenefit
 ofacondition respecting any estatem ay betaken by aperson underan instm m ent,althoug,
                                                                                      h he
 benota party thereto;andifacovenantorprom isebe made forthebepeft,in wholeorin part,

 ofapersonwithwhom itisnotmade,orwithwhom itismadejointlywithothers,suchperson,
 whethernamed in theinstrum entornot,m ay maintain in ilisown nameany action thereon which
 hem ightm aintain in caseithad been m adewith him only and theconsideration had m oved from
 him to the party m aking such covenantorprom ise.In such action the covenantor orprom isor
 shallbepennitted to m akçalldefenseshem ay have,notonly againstthe covenantee or
 promisee,butagainstsuch beneficiary asw ell.''
    220.       Liberty also breached itsconkactwithW inzi ifewhen itwasunilaterally
 canceled,despitetheterm softhecontractnotallowing this.
                                                           C OO LM NT
                                                                Doev.Liberty University eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 61 of 65 Pageid#: 61
                                                                                 Page 61 of65



    221.       Asaresultoftheforgoing,Janeisentitled todamages,the am ountto be
 determined attrial.
    222.

                                          C ountW


                          Torturous interference w ith business practices
    223.       Theforegoing allegaéonsare incop orated herein by reference.
    224.       Plaintifrbelievesandintendsto show thatone orm oreofthese defendantsdid in
 factinterferewith herability to practiceherbusinessin amannerw ilich isdetrim entaland
 thereforetortious.
    225.       Asaresultofthe forgoing,Jane isentitledto dam ages,theam ountto be
 determ inedattrial.
                                              CountV
                       Breach ofthe covenantofgood faith and fairdealing
    226.       Theforegoing allegaéonsareincorporated herein by reference.
    227.       PlaintiF believesandintendsto show thatoneormoreofthe defendantsbreached
 the covenantofgood faith and fairdealing.
    228.       Asa resultoftheforgoing,Janeisentitled todamages,theam ountto be
 determined attrial.
                                             CountV.I
                           Torturous interference w ith business practices
    229.       Theforegoing allegaéonsareincorporated herein by reference.
    230.       Plainti/ believesand intendsto show thatoneorm oreofthesedefendants did in
 factinterferewith herability topracticeherbusinessin am annerwllich isdetdm entaland
 thereforetortious.
    231.       Asaresultoftheforgoing,Janeisentitledto dam ages,the am ountto be
 determ inedattrial.

                                                         COO LAJNT
                                                             Doev.Liberty University etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 62 of 65 Pageid#: 62
                                                                                     Page 62 of65



                                                 C ountV H
                                                 N egligence
       232.        Theforegoing allegaéonsare incorporatedherein by reference.
          PlaintiF believesandintendsto show thatone orm oredefendantsbreached theduty of
           Care.

       233.        Asaresultoftheforgoing,Jane isentitledto dam ages,theam ounttobe
    determined attrial.
                                                 CountVlll
                                                 D efam ation

       234.        Theforegoing Zlegaéonsareincorporated herein by reference.
           Plaintif believesand intendsto show
       235.        Oneorm oredefendantsdefnmed Jane,asrecently asFall2018.
       236.        Asa resultoftheforgoing,Janeisentitled to damages,theamôuntto be
    detenuined attrial.


                                                  CountIX
                                            D efam ation#crse
                   Theforegoing allegaéonsareincorporated herein by reference.
       238.        PlaintiF believeand intendsto show thatoneormore defendantsbreachedthe
.
    duty ofcarerequired.
       239.        0neorm oredefendantsdefnmed Jane,asrecently asFall2018.
       240.        Asaresultoftheforgoing,Janeisentitled to dam ages,theam ountto be
    determ inedattrial.




                                                                COM PLA m T
                                                                     Doev.LibertyUniversity etal.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 63 of 65 Pageid#: 63

                                                                               Page 63 of65



                                               CountX
                                     Civiland Statutory Conspiracy
    241.       Theforegoing Zlegaéonsareincorporated herein by reference.plaintiF believes
 andintendsto show thatmorethan one ofthe defendantswasinvolved in aconspiracy.
    242.       0neorm oredefendantsdefamed Jane,asrecently asFall2018.
    243.       Asaresultoftheforgoing,Janeisentitledto dam ages,theam ountto be
 determ inedattrial.


                                               CountX
                            IntentionalInfiction ofEm otionalD istress
    244.       Theforegoing allegaéonsareincorporatedhereinby reference.
       Plaintif believesandintendsto show thatone ormoredefendantsiM icted em oéonal
        damageagainstJane.
    245.       Asaresultofthe forgoing,Jane isentitledto dam ages,theam ounttobe

               determined attrial.

                                               CountXI
                              N egligentInfliction ofEm otionalD istress
    246.       Theforegoing allegationsareincorporated herein by reference.                   .
        Plaintiffbelievesand intendsto show thatoneormoredefendantsinflicted emoéonal
        dam ageagainstJane.
    247.       Asaresultoftheforgoing,Janeisentitled to damages,the nm ountto be
               determined attrial.




                                                         C OO LAN
                                                              Doev.Liberty University etal.
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    Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 64 of 65 Pageid#: 64

                                                                                       Page 64 of65


                                          PR AY ER FOR RELV F
        248.       Accordingly,PlaintiffpraysforjudgmentinhisfavorandagainstDefendant:
        249.       Declaring thatDefendantviolated the Am ericanswith DisabilitiesActby
     discrim inating againstPlaintiffon thebasisofdisability,and/orretaliating againstPlaintifffor
     engaging in protected activity,
                                   '
        250.       D eclaring thatDefendantviolated the Am ericanswith TitleIX by discriminating
     againstPlaintif on the basisofdisability,and/orretaliating againstPlaintiffforengaging in
     protected activity;
                   AwardingPlaintifflostpastandfuturewagesandbenefitsasaresultof
     Defendant'sviolation ofTitleIX ,plusinterestthereon;
        252.       AwardingPlaintiffcompensatory dam agesin an am ounttobeproven attrial,plus
                    interestthereon;
        253.       Aw arding Plaintiffpunitivednm agesin an nm ountto beproven attrial,plus
     interestthereon;
        254.       Aw arding Plaintifflostpastand fum rewagesandbenefitsasa resultof
     Defendant'sdiscrim ination and/orretaliation,plusinterestthereon;
        255.       Aw arding Plaintiffreliefnecessary duetobreach ofthe covenantoffaith andfair
     dealing.Awarding Plaintifflostpastand futurewagesand benefksasa resultoftheD efendant's
     discrimination and/orretaliation,plusinterestthereon.
        256.       Awarding Plaintiffreliefnecessary dueto TortorousInterferencewith business
     practices
                   Awarding Plaintifflostpastand futurew agesandbenefitsasaresultof
                   Defendant'sdiscrimination and/orretaliation,plusinterestthereon
        258.        AwardingPlainéffreliefasnecessary forLiberty'sDefnmation.
        259.        AwardingPlaintiffreliefasnecessary forLiberty'sDefamationrcrse.
        260.        AwardingPlaintiffreliefasnecessary forLiberty'sCiviland Statutory
     Conspiracy(includingtrebledamagespursuanttoVirginiaCodejj18.2-499and 18.2-500)
        261.        AwardingPlaintiffreliefasnecessary forLiberty'sIm entionalInfliction of
     Em otionalDistress.
        262.        AwardingPlaintiffreliefasnecessary forLiberty'sN egligentInfliction of
     Em otionalDistress

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                                                                  Doev.LibertyUniversity eta1.
Case 6:19-cv-00029-NKM-RSB Document 1 Filed 05/15/19 Page 65 of 65 Pageid#: 65

                                                                                        Page 65 of65


    263.         AwardingPlaintiffthecostsofblinging and maintairling thiscivilacéon and the
 inveségaéon thatpreceded it,including reasonableattom eys'feesand costs;
    264.         AwardingPlaintiffpre-andpost-judgmentinterest;
    265.         EnjoiningDefendantfrom discriminatingorretaliating againstPlaintiffinthe
 future
    266.         AwardingPlaintiffsuch otherandfurtherreliefastheinterestsofjusticemay
 require.
    267.         EnjoiningDefendantfrom discriminating orretaliaéngagainstPlaintiffinthe
 future.

                          PLAG TIFF D EM AN D S A TRTAL BY JIJR Y
          PursuanttoFederalRuleofCivilProcedure38(b),Plaintiffdemandsajurytrial
          fora11claim sandissuessotliable.
                                      ,   Certification and closing

          UnderFederalRule ofCivilProcedure 11,by signing below,Icertifyto thebestofm y
          knowledge,information,andbelievethatthiscomplaint:(1)isnotbeingpresentedforan
          improperpurpose,such asto harass,causeunnecessary delay,orneedlessly increasethe
          costoflitigation;(2)issupportedby exisénglaw orbyanonfrivolousargumentfor
          extending,modifying,orreversingexistinglaw;(3)thefactualcontentionshave
          evidentiary supportaor,ifspecifically soidentified,willlikelyhave evidentiary support
          afterareasonableopportunity forfurtherinvestigationordiscovely;and (4)thecomplaint
          otherwise complieswith therequirem entsofRule 11.Additionally,1,JaneDoe,declare
          underpenaltyofperjurythattheforegoingistrtzeandcorrectpursuanttoVirginiaCode
          j8.01-4.3.
                                                                      Respectfully subm itted,


                                                                 Jane oe
                                                                      Julia.W itherspoohQ amail.com
                    431StJamesAve.//171 %kzlEe-R
                                                                 '
                                                                 ZqqM 7 GooseCreek,SC
                                                                            843-608-9712




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                                                                 Doev.LibertyUniversity eta1.
